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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

CHERILYN ABOITES, ET. AL.,                    §
                                              §
                Plaintiffs,                   §
                                              §
v.                                            §       CASE NO.
                                              §
FORD MOTOR COMPANY,                           §
                                              §
                Defendant                     §       JURY TRIAL DEMANDED

              PLAINTIFFS’ ORIGINAL COMPLAINT AND JURY DEMAND

       Plaintiffs identified below hereby file the instant Original Complaint and Jury Demand

against Defendant Ford Motor Company and respectfully show the Court as follows:

                                        INTRODUCTION

       1.       This case arises out of Ford Motor Company’s global marketing and sale of

approximately 1.5 Million 2011-2016 Ford Fiesta motor vehicles and 2012-2016 Ford Focus motor

vehicles (the “Vehicles”), which were equipped with an unsafe and defective transmission known

as the “DPS6 PowerShift Transmission” (the “PowerShift Transmission” or the “DPS6”).

       2.       Ford Motor Company (“Ford” or “Defendant”) sold the Vehicles to the Plaintiffs

named herein.

       3.       As a result of the plethora of defects plaguing the PowerShift Transmissions in

these vehicles, Ford violated its statutory and common law warranty and disclosure obligations for

the Vehicles sold or leased to Plaintiffs, each of which was subject to a written warranty issued by

Ford. Ford breached its express and implied warranties, violated the Magnuson-Moss Warranty

Act, 15 U.S.C. § 2301, et seq., committed fraud, and violated various state unfair trade practices

acts across the nation, as alleged herein.




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       4.      Plaintiffs generally allege, as more fully set forth herein, that Ford (whether directly

or through its authorized repair facilities) failed to repair Plaintiffs’ vehicles to conform to Ford’s

written warranty after a reasonable number of opportunities or within a reasonable amount of time.

Moreover, Ford failed to promptly replace Plaintiffs’ vehicles or make restitution for those

vehicles. Plaintiffs further allege that their vehicles were unmerchantable at the time of sale or

lease, and unfit for their intended use, and thereby failed to conform to the representations on the

vehicle’s label. Plaintiffs also generally allege that Ford concealed one or more known defects at

the time of sale (and thereafter), and affirmatively misrepresented the vehicle’s qualities at the

time of sale, thereby inducing Plaintiffs into the purchase or lease of said vehicles.

       5.       The DPS6-equipped Ford Focus and Fiesta vehicles were dangerous to consumers

and the public because the defective DPS6 could and did cause such vehicles to lose power

unexpectedly while driving (referred to as an “unintended neutral event” or “loss of motive

power”); jerk and buck erratically, and otherwise fail in ways that reportedly could and did cause

accidents and injuries (even fatalities) (aforementioned problems collectively referred to as

“Transmission Defects”).

       6.      Plaintiffs are informed and believe, and on that basis allege, that Ford knew before

the initial launch of DPS6-equipped vehicles, and at all times since, that the defects in the

PowerShift Transmission made the vehicles defective and dangerous; furthermore, Ford knew that

such DPS6-equipped vehicles did not and could not comply with Ford’s warranty obligations or

with Plaintiffs’ reasonable expectations.

       7.      Plaintiffs are informed and believe, and on that basis allege, that Ford told one or

more suppliers of DPS6 components that the DPS6 PowerShift Transmissions were dangerously

defective and that said defect was irreparable; furthermore, Ford demanded one or more suppliers



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compensate Ford for increased warranty costs related to the DPS6. Meanwhile, Ford continued to

sell vehicles equipped with the DPS6 PowerShift Transmission.

       8.      Plaintiffs are informed and believe, and on that basis allege, that Ford and its

suppliers ultimately entered into one or more secret agreements, negotiated at the highest levels of

Ford’s management, whereby the supplier(s) paid Ford hundreds of millions of dollars for

increased warranty costs that Ford incurred due to the DPS6 defects. Despite the payoff Ford

received, Ford fraudulently concealed the known defects with the DPS6 from third-parties in the

United States (e.g., consumers including Plaintiffs, governmental regulators such as the U.S.

National Highway Safety Administration (“NHTSA”)) and abroad (e.g., the Australian Consumer

and Competition Commission (“ACCC”)).

       9.      Ford affirmatively misrepresented to Plaintiffs, consumers and regulators that the

DPS6’s aberrant operations were “normal operating characteristics” and that there was nothing

wrong with the transmission, consistent with Ford’s secret settlement deal. To this day, Ford

continues to deny the defects in the DPS6-equipped Focus and Fiesta vehicles even though it was

forced to admit the contrary in a consent decree in a regulatory proceeding by the ACCC, which

is part of the public record of that Australian regulatory agency, and which resulted in Ford paying

an (AUS) $10 million penalty/fine for engaging in unconscionable conduct regarding DPS6-

equipped Focus and Fiesta vehicles. See https://www.accc.gov.au/media-release/court-orders-

ford-to-pay-10-million-penalty-for-unconscionable-conduct (last visited February 8, 2022).

       10.     Ford’s corporate misconduct and fraud are alleged in greater detail below, with

specific references to, and quotations from, Ford’s own internal corporate documents.




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                                             PARTIES

                                    ARIZONA PLAINTIFFS

       11.     Plaintiff Cherilyn Aboites (for the purpose of this paragraph, “Plaintiff”) is a citizen

of Arizona, who purchased a 2013 Fiesta VIN 3FADP4EJ6DM147342 in Arizona. Plaintiff’s

vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

additional $1,095.00 over the manual transmission version.                Passenger safety, vehicle

performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

following sources touting these features: (a) advertisements and information on Ford’s website;

(b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

it had a defective transmission, including that it is prone to premature internal wear and failure,

that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

foreseeable manner and in the manner in which it was intended to be used.



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       12.     Plaintiff Lois Allen (for the purpose of this paragraph, “Plaintiff”) is a citizen of

Arizona, who purchased a 2012 Focus VIN 1FAHP3F21CL251126 in Arizona. Plaintiff’s vehicle

was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

$1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

touting these features: (a) advertisements and information on Ford’s website; (b) online

advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

a defective transmission, including that it is prone to premature internal wear and failure, that it

suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

manner and in the manner in which it was intended to be used.

       13.     Plaintiff Carol Alsay (for the purpose of this paragraph, “Plaintiff”) is a citizen of

Arizona, who purchased a 2012 Fiesta VIN 3FADP4EJ8CM219429 in Arizona. Plaintiff’s vehicle



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was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

$1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

touting these features: (a) advertisements and information on Ford’s website; (b) online

advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

a defective transmission, including that it is prone to premature internal wear and failure, that it

suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

manner and in the manner in which it was intended to be used.

       14.     Plaintiff Jeremy Analco (for the purpose of this paragraph, “Plaintiff”) is a citizen

of Arizona, who purchased a 2013 Fiesta VIN 3FADP4BJ9DM195132 in Arizona. Plaintiff’s

vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle



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performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

following sources touting these features: (a) advertisements and information on Ford’s website;

(b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

it had a defective transmission, including that it is prone to premature internal wear and failure,

that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

foreseeable manner and in the manner in which it was intended to be used.

       15.     Plaintiff Hannah Andrade (for the purpose of this paragraph, “Plaintiff”) is a citizen

of Arizona, who purchased a 2014 Focus VIN 1FADP3J26EL218406 in Arizona. Plaintiff’s

vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



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following sources touting these features: (a) advertisements and information on Ford’s website;

(b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

it had a defective transmission, including that it is prone to premature internal wear and failure,

that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

foreseeable manner and in the manner in which it was intended to be used.

       16.     Plaintiff Tina Antunez (for the purpose of this paragraph, “Plaintiff”) is a citizen of

Arizona, who purchased a 2011 Fiesta VIN 3FADP4EJ4BM177193 in Arizona. Plaintiff’s vehicle

was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

$1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

touting these features: (a) advertisements and information on Ford’s website; (b) online

advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



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and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

a defective transmission, including that it is prone to premature internal wear and failure, that it

suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

manner and in the manner in which it was intended to be used.

       17.     Plaintiff William Ashford (for the purpose of this paragraph, “Plaintiff”) is a citizen

of Montana, who purchased a 2014 Focus VIN 1FADP3N27DL284648 in Arizona. Plaintiff’s

vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

following sources touting these features: (a) advertisements and information on Ford’s website;

(b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



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 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        18.     Plaintiff Karmina Avila (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2014 Fiesta VIN 3FADP4AJ8EM139668 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



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 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        19.     Plaintiff Tonya Bailey (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2014 Fiesta VIN 3FADP4BJ8EM200385 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



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 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        20.     Plaintiff Keith Balanis (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2015 Focus VIN 1FADP3K29FL256566 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



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 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        21.     Plaintiff Rebecca Ball (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2014 Focus VIN 1FADP3F2XEL252311 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



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 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        22.     Plaintiff Traci Ballare (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2014 Focus VIN 1FADP3F23EL340536 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective




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 transmission described above.      At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        23.     Plaintiff Ti Barnes, POA for Frank Konfrst (for the purpose of this paragraph,

 “Plaintiff”) is a citizen of Arizona, who purchased a 2013 Focus VIN 1FADP3J23DL211038 in

 Arizona. Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which

 Plaintiff paid an additional $1,095.00 over the manual transmission version. Passenger safety,

 vehicle performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase

 the vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of

 the following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.



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        24.     Plaintiff Chris Barry (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2011 Fiesta VIN 3FADP4EJ8BM227433 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.         Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.      At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        25.     Plaintiff Elizabeth Bassett (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2013 Focus VIN 1FADP3F22DL301497 in Arizona. Plaintiff’s



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 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        26.     Plaintiff Kevin Bauer (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2014 Focus VIN 1FADP3F21EL241794 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



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 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        27.     Plaintiff Jason Bia (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2013 Focus VIN 1FADP3F28DL133364 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



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 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        28.     Plaintiff Lavita Big (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2016 Fiesta VIN 3FADP4BJ0GM115656 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



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 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        29.     Plaintiff Amanda Billingsley (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Arizona, who purchased a 2014 Fiesta VIN 3FADP4EJ5EM190877 in Arizona.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



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 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        30.     Plaintiff Fredy Blas (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2013 Focus VIN 1FADP3F20DL245110 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



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 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        31.     Plaintiff Jeff Bloker (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2012 Focus VIN 1FAHP3K29CL416040 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



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 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        32.     Plaintiff Cody Bloomfield (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Oregon, who purchased a 2012 Focus VIN 1FAHP3K29CL251476 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would



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 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        33.     Plaintiff Jeanie Boggs (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2012 Focus VIN 1FADP3C21CL324797 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



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 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        34.     Plaintiff Jennifer Bontrager (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Arizona, who purchased a 2014 Focus VIN 1FADP3K21EL113321 in Arizona.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from




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 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        35.     Plaintiff Tamara Broadbent (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Arizona, who purchased a 2013 Fiesta VIN 3FADP4AJXDM205524 in Arizona.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.



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        36.     Plaintiff Daniel Burton (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2013 Focus VIN 1FADP3K22DL353153 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        37.     Plaintiff Joseph Buxenbaum (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Arizona, who purchased a 2012 Focus VIN 1FAHP3M26CL437702 in Arizona.



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 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.             Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        38.     Plaintiff Ronald Byers (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2013 Focus VIN 1FADP3FP25DL158870 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle



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 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        39.     Plaintiff Ronald Byers (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2014 Focus VIN 1FADP3K22EL247965 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



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 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        40.     Plaintiff John Callahan (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2011 Fiesta VIN 3FADP4EJ6BM204930 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales



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 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        41.     Plaintiff Kenneth Cardenas (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Arizona, who purchased a 2013 Focus VIN 1FADP3F23DL116889 in Arizona.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



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 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        42.     Plaintiff Austin Cargo (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2013 Focus VIN 1FADP3K23DL339228 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



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 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        43.     Plaintiff David Carter (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2013 Fiesta VIN 3FADP4FJ6DM147131 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



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 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        44.     Plaintiff Eleanor Castillo (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Pennsylvania, who purchased a 2011 Fiesta VIN 3FADP4BJ7BM157363 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.                Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would



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 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        45.     Plaintiff Janet Chapman (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2014 Fiesta VIN 3FADP4EJ4EM111389 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount



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 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        46.     Plaintiff Dyleen Chavez (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2012 Focus VIN 1FAHP3K2XCL400686 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from




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 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        47.     Plaintiff Eric Christenson (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2012 Fiesta VIN 3FADP4BJ5CM199323 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.                Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.



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        48.     Plaintiff Katelynn Clouse (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2014 Focus VIN 1FADP3K22EL455554 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        49.     Plaintiff Aaron Cohen (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2013 Fiesta VIN 3FADP4FJ6DM103579 in Arizona. Plaintiff’s vehicle



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 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        50.     Plaintiff Brandon Colson (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Georgia, who purchased a 2013 Focus VIN 1FADP3F27DL223041 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle



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 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        51.     Plaintiff Cristin Combs (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2012 Focus VIN 1FAHP3F25CL348880 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



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 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        52.     Plaintiff Brian Corrigan (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Pennsylvania, who purchased a 2014 Focus VIN 1FADP3K23EL210715 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales



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 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        53.     Plaintiff Lance Cox (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2014 Focus VIN 1FADP3K2XEL145930 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



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 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        54.     Plaintiff Kenneth Dasta (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2014 Fiesta VIN 3FADP4BJ4DM214847 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



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 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        55.     Plaintiff Lance Dauenhauer (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Arizona, who purchased a 2014 Focus VIN 1FADP3F25EL442470 in Arizona.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden



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 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        56.     Plaintiff William Davis-Hall (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Arizona, who purchased a 2013 Fiesta VIN 3FADP4EJ9DM195224 in Arizona.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would



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 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        57.     Plaintiff Emery Day (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2017 Fiesta VIN 3FADP4GX2HM102485 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount



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 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        58.     Plaintiff Mike and Dee Deloera (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Arizona, who purchased a 2016 Focus VIN 1FADP3K26FL369584 in Arizona.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from




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 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        59.     Plaintiff Mark Dinsdale (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2014 Focus VIN 1FADP3K24EL407649 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.



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        60.     Plaintiff Deidra Dodson (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2012 Focus VIN 1FAHP3H24CL147985 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        61.     Plaintiff Douglas Duhaime (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Arizona, who purchased a 2013 Focus VIN 1FADP3K25DL235565 in Arizona.



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 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        62.     Plaintiff Douglas Duhaime (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Arizona, who purchased a 2015 Fiesta VIN 3FADP4BJ9FM213700 in Arizona.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle



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 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        63.     Plaintiff Elizabeth Dulin (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2013 Fiesta VIN 3FADP4BJ2DM172582 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



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 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        64.     Plaintiff Jeff Dunlop (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2015 Focus VIN 1FADP3K27FL232248 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



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 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        65.     Plaintiff Mike Elam (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Wisconsin, who purchased a 2013 Fiesta VIN 3FADP4AJ9EM205465 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



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 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        66.     Plaintiff Leland Erickson (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2014 Focus VIN 1FADP3F26EL272250 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



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 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        67.     Plaintiff Sharon Fabricante (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Maryland, who purchased a 2013 Fiesta VIN 1FADP4BJ7DM199423 in Arizona.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden



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 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        68.     Plaintiff Jamie Farrell (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2016 Focus VIN 1FADP3F25GL221499 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



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 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        69.     Plaintiff Paul Farrell (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Pennsylvania, who purchased a 2014 Focus VIN 1FAHP3F29CL201204 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount



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 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        70.     Plaintiff Maria Felix (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2013 Focus VIN 1FADP3K24DL237873 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective




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 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        71.     Plaintiff Robert Fields (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2014 Focus VIN 1FADP3F29EL111696 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.



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        72.     Plaintiff Margaret Flanigan (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Minnesota, who purchased a 2013 Focus VIN 1FADP3F24DL244624 in Arizona.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        73.     Plaintiff Jaime Flint (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2014 Focus VIN 1FADP3F24EL210636 in Arizona. Plaintiff’s vehicle



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 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        74.     Plaintiff Tamara Frederick (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Arizona, who purchased a 2012 Focus VIN 1FAHP3N20CL416049 in Arizona.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle



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 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        75.     Plaintiff Daniel Galindo (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2013 Focus VIN 1FADP3F21DL205098 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



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 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        76.     Plaintiff Garrett Galindo (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2014 Focus VIN 1FADP3K20EL414081 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales



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 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        77.     Plaintiff Marty Galison (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2013 Focus VIN 1FADP3F24DL132082 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



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 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        78.     Plaintiff Tami Garber (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2016 Focus VIN 1FADP3F29GL203426 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



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 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        79.     Plaintiff Sara Garcia (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2015 Focus VIN 1FADP3F23FL287922 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



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 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        80.     Plaintiff Glen Garris (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2013 Fiesta VIN 3FADP4AJ9DM15009 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



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 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        81.     Plaintiff Kristen Geist (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Washington, who purchased a 2013 Focus VIN 1FADP3F22DL277766 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.                Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount



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 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        82.     Plaintiff Sally George (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2014 Focus VIN 1FADP3F29EL247925 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective




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 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        83.     Plaintiff Carol Gervais (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2013 Fiesta VIN 3FADP4BJ9DM1654974 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.                Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.



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        84.     Plaintiff Tyler Gibson (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2014 Focus VIN 1FADP3F21EL248521 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        85.     Plaintiff Zachary Gibson (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arkansas, who purchased a 2015 Focus VIN 1FADP3J21FL273377 in Arizona. Plaintiff’s



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 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        86.     Plaintiff Cynthia and Robert Gillette (for the purpose of this paragraph, “Plaintiff”)

 is a citizen of Arizona, who purchased a 2014 Focus VIN 1FADP3K20EL374827 in Arizona.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle



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 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        87.     Plaintiff Emmylou Gonzales (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Arizona, who purchased a 2011 Fiesta VIN 3FADP4BJ9BM129919 in Arizona.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



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 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        88.     Plaintiff Tanya Goodson (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2011 Fiesta VIN 3FADP4BJ8BM240686 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales



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 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        89.     Plaintiff Chad Gordon (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2014 Focus VIN 1FADP3K27EL176486 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



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 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        90.     Plaintiff Casey Gran (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2014 Focus VIN 1FADP3K25EL132146 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



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 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        91.     Plaintiff Jessica Griffin (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2014 Focus VIN 1FADP3J26EL111534 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden



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 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        92.     Plaintiff Jennifer Groat (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2013 Fiesta VIN 3FADP4FJ6DM186270VDM in Arizona.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would



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 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        93.     Plaintiff Donald Guth Jr. (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2014 Focus VIN 1FADP3K22EL254933 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount



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 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        94.     Plaintiff William Hamilton (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Arizona, who purchased a 2014 Focus VIN 1FADP3K2XEL157480 in Arizona.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from




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 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        95.     Plaintiff Grace Harris (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2015 Focus VIN 1FADP3F21FL221508 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.



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        96.     Plaintiff Daniel Harrison (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2014 Focus VIN 1FADP3F25EL421800 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        97.     Plaintiff Patricia Henley (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2014 Focus VIN 1FADP3K27EL305987 in Arizona. Plaintiff’s



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 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        98.     Plaintiff Patricia Henley (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2012 Focus VIN 1FAHP3M21CL356283 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle



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 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        99.     Plaintiff Patricia Henley (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2014 Fiesta VIN 3FADP4EJ2EM157352 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



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 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        100.    Plaintiff Mason Hill (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2015 Fiesta VIN 3FADP4EJXFM167340 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



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 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        101.    Plaintiff Neil Huntley (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2014 Fiesta VIN 3FADP4BJ6EM151462 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



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 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        102.    Plaintiff Grayson Huxster (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2016 Focus VIN 1FADP3F21GL315542 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



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 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        103.    Plaintiff Sharon Imperiale (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2012 Focus VIN 1FAHP3F28CL105872 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.                Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden



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 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        104.    Plaintiff Justin James (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2013 Focus VIN IFADP3F29DL196165 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



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 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        105.    Plaintiff Miguel Jimenez (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2014 Focus VIN 1FADP3F2XEL455697 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount



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 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        106.    Plaintiff Marla Jinks (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2015 Focus VIN 1FADP3F24DL264386 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective




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 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        107.    Plaintiff Marla Jinks (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arizona, who purchased a 2015 Focus VIN 1FADP3J25FL324699 in Arizona. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.



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        108.    Plaintiff Bridget and Daniel Johanning (for the purpose of this paragraph,

 “Plaintiff”) is a citizen of Arizona, who purchased a 2013 Focus VIN 1FADP3K20DL214039 in

 Arizona. Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which

 Plaintiff paid an additional $1,095.00 over the manual transmission version. Passenger safety,

 vehicle performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase

 the vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of

 the following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        109.    Plaintiff Bridget and Daniel Johanning (for the purpose of this paragraph,

 “Plaintiff”) is a citizen of Arizona, who purchased a 2015 Focus VIN 1FADP3N28FL380467 in



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 Arizona. Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which

 Plaintiff paid an additional $1,095.00 over the manual transmission version. Passenger safety,

 vehicle performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase

 the vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of

 the following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        110.    Plaintiff Denise Johnson (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2012 Focus VIN 1FAHP3F27CL262826 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle



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 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        111.    Plaintiff James Johnson (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2015 Focus VIN 1FADP3K21FL318753 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



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 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        112.    Plaintiff Michael Johnson (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2014 Fiesta VIN 3FADP4TJ5EM169210 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales



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 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        113.    Plaintiff Stacey Johnson (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2013 Focus VIN 1FADP3K22FL314789 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



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 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        114.    Plaintiff Stacey Johnson (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2015 Focus VIN 1FADP3K2XDL301494 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



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 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        115.    Plaintiff Raelynn Jordan (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Arizona, who purchased a 2014 Focus VIN 1FADP3F25EL198917 in Arizona. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden



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  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         116.    Plaintiff Gaetano Kadum (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Arizona, who purchased a 2012 Focus VIN 1FAHP3M22CL373724 in Arizona. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would



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  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         117.    Plaintiff Mackenzie Keck (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Indiana, who purchased a 2015 Fiesta VIN 3FADP4EJ8FM115110 in Arizona. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount



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  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         118.    Plaintiff Sylvia Kennison (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Arizona, who purchased a 2014 Focus VIN 1FADP3F25G289477 in Arizona. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from




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  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         119.    Plaintiff Sylvia Kennison (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Arizona, who purchased a 2016 Focus VIN 1FADP3K21EL333901 in Arizona. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.



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         120.    Plaintiff Ken King (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Arizona, who purchased a 2013 Focus VIN 1FADP3K22DL116811 in Arizona. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         121.    Plaintiff Jessica Knoke (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Arizona, who purchased a 2017 Focus VIN 1FADP3K21HL217411 in Arizona. Plaintiff’s



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  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         122.    Plaintiff Patrick Kohorst (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Ohio, who purchased a 2013 Focus VIN 1FADP3F2XDL158220 in Arizona. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



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  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         123.    Plaintiff Cody Kulka (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Arizona, who purchased a 2014 Focus VIN 1FADP3K2XCL149900 in Arizona. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



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  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         124.    Plaintiff Melodie Lamb (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Arizona, who purchased a 2014 Focus VIN 1FADP3F25EL382383 in Arizona. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales



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  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         125.    Plaintiff Kaycee Larson (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Arizona, who purchased a 2012 Fiesta VIN 3FADP4BJ9CM173355 in Arizona. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



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  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         126.    Plaintiff Scott Lavoie (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Arizona, who purchased a 2012 Fiesta VIN 3FADP4AJ7CM112300 in Arizona. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



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  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         127.    Plaintiff Tracy Lee (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Texas, who purchased a 2016 Focus VIN 1FADP3F23GL280342 in Arizona. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



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  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         128.    Plaintiff David Lendborg (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Arizona, who purchased a 2014 Focus VIN 1FADP3K27EL198925 in Arizona. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would



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  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         129.    Plaintiff Daniel Lerma (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Arizona, who purchased a 2014 Focus VIN 1FADP3F26EL455793 in Arizona. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



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  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         130.    Plaintiff Karyssa Long (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Arizona, who purchased a 2013 Focus VIN 1FADP3J22DL157912 in Arizona. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective




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  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         131.    Plaintiff Daniel Lopez (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Arizona, who purchased a 2012 Focus VIN 1FAHP3F26CL411307 in Arizona. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.



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         132.    Plaintiff Debra Lopez (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Arizona, who purchased a 2015 Fiesta VIN 3FADP4BJOFM136201 in Arizona. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         133.    Plaintiff Holly Lopez (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Arizona, who purchased a 2013 Focus VIN 1FADP3K2XDL124316 in Arizona. Plaintiff’s



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  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         134.    Plaintiff Lisa Lopez (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Arizona, who purchased a 2013 Focus VIN 1FADP3N22DL201160 in Arizona. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



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  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         135.    Plaintiff Kelsey Lovato (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of New Mexico, who purchased a 2014 Focus VIN 1FADP3F28DL279456 in Arizona. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



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  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         136.    Plaintiff Rainee Lovers (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Arizona, who purchased a 2013 Focus VIN 1FADP3K24DL145260 in Arizona. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales



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  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         137.    Plaintiff Joseph Lovinfosse (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Pennsylvania, who purchased a 2016 Focus VIN 1FADP3F26FL383298 in Arizona.

  Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

  an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



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  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         138.    Plaintiff Dion Luebke (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Arizona, who purchased a 2014 Fiesta VIN 3FADP4EJ3EM103204 in Arizona. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



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  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

                                      OREGON PLAINTIFFS

         139.    Plaintiff Romeo Abala (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2014 Focus VIN 1FADP3J26EL248327 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it



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  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         140.    Plaintiff Romeo Abala (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2012 Focus VIN 1FADP3K28EL317341 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed



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  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         141.    Plaintiff Romeo Abala (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2016 Focus VIN 1FAHP3E21CL175361 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they



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  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         142.    Plaintiff Nancy Alonso (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2014 Focus VIN 1FADP3F28LL267937 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from



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  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         143.    Plaintiff Cheri and Wayne Anderson (for the purpose of this paragraph, “Plaintiff”)

  is a citizen of Oregon, who purchased a 2014 Focus VIN 1FADP3F26EL271728 in Oregon.

  Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

  an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.



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         144.    Plaintiff William Ard (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2013 Focus VIN 1FADP3K27DL320407 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         145.    Plaintiff Jason Baker (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2012 Focus VIN 1FAHP3F24CL146077 in Oregon. Plaintiff’s vehicle



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  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         146.    Plaintiff Kelly Bonanno (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2013 Fiesta VIN 3FADP4BJ0DM142741 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle



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  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         147.    Plaintiff Jordan Capps (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2012 Fiesta VIN 3FADP4CJ1CM216598 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



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  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         148.    Plaintiff Suzanne Carlson (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2014 Focus VIN 1FADP3F23EL238329 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales



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  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         149.    Plaintiff Colin Carney (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2014 Fiesta VIN 3FADP4BJ8EM191669 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



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  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         150.    Plaintiff Anthony Ceddia (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2014 Fiesta VIN 3FADP4BJEM191114 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



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  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         151.    Plaintiff John Cermak (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2011 Fiesta VIN 3FADP4CJ9BM109166 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



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  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         152.    Plaintiff Brennan Clark (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2013 Fiesta VIN 3FADP4EJXDM131242 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would



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  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         153.    Plaintiff Cheryl and Michael Coons (for the purpose of this paragraph, “Plaintiff”)

  is a citizen of Oregon, who purchased a 2012 Focus VIN 1FAHP3M3CL290984 in Oregon.

  Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

  an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount



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  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         154.    Plaintiff Charles Corbett (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2015 Focus VIN 1FADP3F24FL307742 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from




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  the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         155.    Plaintiff Christina Correll (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Arizona, who purchased a 2016 Focus VIN 1FADP3F25GL388168 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.                Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.



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         156.    Plaintiff Adam Crismon (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2013 Focus VIN 1FADP3F23DL341880 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         157.    Plaintiff Jennifer Crosby (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Florida, who purchased a 2012 Focus VIN 1FAHP3PM24CL416380 in Oregon. Plaintiff’s



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  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         158.    Plaintiff Aaron Cummings (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Washington, who purchased a 2013 Focus VIN 1FADP3F26DL216081 in Oregon.

  Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

  an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle



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  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         159.    Plaintiff William Cummings (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Oregon, who purchased a 2015 Focus VIN 1FADP3K20FL275782 in Oregon.

  Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

  an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



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  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         160.    Plaintiff Mary Curtis (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2014 Focus VIN 1FADP3F23EL363959 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



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  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         161.    Plaintiff Marni Danielson (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2013 Focus VIN 1FADP3F21DL171969 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



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  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         162.    Plaintiff Peggy Dillman (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2012 Focus VIN 1FAHP3M29CL331776 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



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  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         163.    Plaintiff Darby Dooley (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2014 Focus VIN 1FADP3K22EL157084 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden



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  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         164.    Plaintiff Darla Duke (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2014 Focus VIN 1FADP3F27EL454572 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



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  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         165.    Plaintiff Andrew Fiock (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2012 Focus VIN 1FAHP3H21CL330714 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount



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  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         166.    Plaintiff Tammy Freire (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2016 Focus VIN 1FADP3K29GL255130 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from




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  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         167.    Plaintiff Martha Fritz (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2013 Focus VIN 1FADP3K2XDL117303 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.



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         168.    Plaintiff Lee Fuller (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2013 Focus VIN 1FADP3F2XDL336692 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         169.    Plaintiff Mikialah Gaither (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2012 Fiesta VIN 3FADP4EJ8CM216708 in Oregon. Plaintiff’s



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  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         170.    Plaintiff Matt Gee (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2014 Focus VIN 1FADP3F28EL211448 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



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  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         171.    Plaintiff David Goatley (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2014 Focus VIN 1FADP3F20EL294941 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



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  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         172.    Plaintiff Wendy Gray (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2014 Focus VIN 1FADP3F29EL176872 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



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  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         173.    Plaintiff Christine Green (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2013 Fiesta VIN 3FADP4BJDM205690 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



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  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         174.    Plaintiff Lois Green (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2014 Focus VIN 1FADP3F26EL112322 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



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  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         175.    Plaintiff Mary Hall (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2013 Focus VIN 1FADP3F26DL117289 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



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  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         176.    Plaintiff Brian Halley (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Washington, who purchased a 2014 Focus VIN 1FADP3J25EL255348 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would



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  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         177.    Plaintiff Christopher Hancock (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Oregon, who purchased a 2012 Focus VIN 1FAHP3F22CL343927 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount



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  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         178.    Plaintiff Alex Hawk (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2014 Fiesta VIN 1FADP3J25DL284797 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective




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  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         179.    Plaintiff Alex and Thomas Hawk (for the purpose of this paragraph, “Plaintiff”) is

  a citizen of Oregon, who purchased a 2013 Focus VIN 3FADP4FJ4EM220921 in Oregon.

  Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

  an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.



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         180.    Plaintiff Austin Henderson (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Oregon, who purchased a 2012 Focus VIN 1FAHP3F28CL237711 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         181.    Plaintiff Cheryl Hickey (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2013 Fiesta VIN 1C4PJMAK6CW203303 in Oregon. Plaintiff’s



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  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         182.    Plaintiff Randelle Hicks (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Arizona, who purchased a 2012 Focus VIN 1FAHP3F27CL212069 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle



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  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         183.    Plaintiff Gary Higginbotham (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Oregon, who purchased a 2014 Focus VIN 1FADP3K2XEL157057 in Oregon.

  Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

  an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



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  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         184.    Plaintiff Susan Higgins (Kroesing) (for the purpose of this paragraph, “Plaintiff”)

  is a citizen of Oregon, who purchased a 2012 Focus VIN 1FAHP3F24CL268275 in Oregon.

  Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

  an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales



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  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         185.    Plaintiff Whitney Hillmick (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Oregon, who purchased a 2013 Focus VIN 1FADP3F21DL297894 in Oregon.

  Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

  an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



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  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         186.    Plaintiff David Holden (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2013 Focus VIN 1FADP3F2XDL117876 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



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  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         187.    Plaintiff Natazha Howard (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of West Virginia, who purchased a 2012 Fiesta VIN 3FADP4EJ4CM129551 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden



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  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         188.    Plaintiff Jaime Huerta (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2013 Focus VIN 1FADP3K29DL339279 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



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  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         189.    Plaintiff Ginie Hugie (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2014 Focus VIN 1FADP3F24EL224956 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



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  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         190.    Plaintiff Alex Humbert (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2014 Fiesta VIN 3FADP4TJ8EM142695 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from




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  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         191.    Plaintiff Chelsea Hunt (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2014 Fiesta VIN 3FADP4BJ6EM190598 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.



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         192.    Plaintiff Demetre Janness (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2012 Focus VIN 1FAHP3K25CL302651 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.                Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         193.    Plaintiff Sanjay Jaroli (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2013 Fiesta VIN 3FADP4BJ9DM194966 in Oregon. Plaintiff’s vehicle



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  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         194.    Plaintiff Gabriel Jenks (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Oregon, who purchased a 2013 Focus VIN 1FADP3K20DL252208 in Oregon. Plaintiff’s vehicle

  was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

  $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



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  mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

  Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

  touting these features: (a) advertisements and information on Ford’s website; (b) online

  advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

  and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

  and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

  dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

  Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

  a defective transmission, including that it is prone to premature internal wear and failure, that it

  suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

  delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

  this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

  it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

  have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

  reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

  transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

  manner and in the manner in which it was intended to be used.

         195.    Plaintiff Vincent Jones (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2011 Fiesta VIN 3FADP4BJ4BM132887 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



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  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         196.    Plaintiff William Kimball (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2015 Focus VIN 1FADP3F29FL211380 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales



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  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         197.    Plaintiff Rochelle King (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2012 Fiesta VIN 3FADP4CJ6CM159881 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



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  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

         198.    Plaintiff Cory Knowland (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Oregon, who purchased a 2014 Focus VIN 1FADP3K28EL255312 in Oregon. Plaintiff’s

  vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

  additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

  performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

  vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

  following sources touting these features: (a) advertisements and information on Ford’s website;

  (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

  brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

  articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

  authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

  Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



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  it had a defective transmission, including that it is prone to premature internal wear and failure,

  that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

  acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

  Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

  have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

  for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

  of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

  the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

  foreseeable manner and in the manner in which it was intended to be used.

                                            DEFENDANT

         199.    Defendant Ford Motor Company is a corporation organized under the laws of the

  State of Delaware and registered to conduct business in Arizona and Oregon. Ford Motor

  Company’s Corporate Headquarters is located at 1 American Road, Dearborn, Michigan 48126.

  Ford Motor Company designs and manufactures motor vehicles, parts, and other products for sale

  in the United States and throughout the world. At all relevant times, Defendant was and is engaged

  in the business of designing, manufacturing, constructing, assembling, marketing, distributing,

  and/or selling automobiles and motor vehicle components in Arizona and Oregon and throughout

  the United States.

                                   JURISDICTION AND VENUE

         200.    The Court has diversity jurisdiction because Plaintiffs and Defendant are citizens

  of different states and the amount in controversy exceeds $75,000 for each Plaintiff. Ford is a

  corporation organized, doing business, and existing under the laws of Delaware with its principal

  place of business in Michigan.



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         201.    This Court also has original jurisdiction over this lawsuit pursuant to 28 U.S.C. §

  1332(a)(1), as modified by the Class Action Fairness Act of 2005, because Plaintiffs and

  Defendants are citizens of different states; there are more than 100 Plaintiffs; the aggregate amount

  in controversy exceeds $5 million, exclusive of attorneys’ fees, interest, and costs; and Plaintiffs

  reside across the United States. The citizenship of each party is described further below in the

  “Parties” section.

         202.    This Court has original jurisdiction to hear this case by virtue of 15 U.S.C. §

  2310(d)(1)(A), the Magnuson-Moss Warranty Act, conferred under 28 U.S.C. § 1131. The Court

  has supplemental jurisdiction over Plaintiffs’ state law claims under 28 U.S.C. § 1367.

         203.    Civil Rule of Procedure 20 provides “persons may join in one action as plaintiffs

  if…they assert any right to relief jointly, severally, or in the alternative with respect to or arising

  out of the same transaction, occurrence, or series of transactions or occurrences; and [] any

  question of law or fact common to all plaintiffs will arise in the action.”

         204.    As set forth herein, Plaintiffs herein all have claims that all arise from the same acts

  and occurrences, therefore joinder is appropriate based on commonality pursuant to Rule 20.

         205.    Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) because Ford resides in

  the District Court of Delaware where it is incorporated. Additionally, Ford is subject to personal

  jurisdiction in this District since (i) Ford conducts substantial business in this District and has

  intentionally availed itself of the laws and markets of the United States and this District; and/or

  (ii) many of the acts and transactions giving rise to this action occurred in this District. Ford sells

  a substantial number of automobiles in this District, has dealerships located throughout this

  District, and the misconduct occurred in part in this District.




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                                    PROCEDURAL HISTORY

         206.    This case arises from a consolidated case filed in April 2017 in the Wayne Circuit

  Court in Michigan. The case was styled Cyr, et al. v. Ford Motor Company, Case No. 2017-

  006058-NZ.

         207.    The Cyr Plaintiffs were comprised of over 12,000 named plaintiffs, including the

  Plaintiffs herein, who filed approximately 83 actions in the Wayne Circuit Court, and, as Plaintiffs

  in a pending individual lawsuit against Ford based on alleged problems with the PowerShift

  Transmission, were automatically excluded from the nationwide class action settlement against

  Ford, Vargas v Ford Motor Company, United States District Court, Central District of California,

  Case No. 2:12-cv-08388 ABC (FFMx).

         208.     These cases advanced claims alleging the same Transmission Defects complained

  of herein.

         209.    In February 2018, Ford filed a motion seeking summary judgment of, inter alia, the

  Michigan Consumer Protection Act claims and dismissal of the non-resident Plaintiffs’ claims

  under the doctrine of forum non conveniens. Ford argued that the non-Michigan Plaintiffs’ claims

  were not properly before the court, which was located in the same Circuit as Ford’s world

  headquarters, and should be filed in a forum other than Michigan State Court. The Wayne Circuit

  Court denied Ford’s motion.

         210.    In November 2018, the Michigan Court of Appeals granted Ford leave to appeal.

  Cyr, et al. v. Ford Motor Company, Case No. 345751. On December 26, 2019, the Michigan Court

  of appeals reversed the lower court’s holding and dismissed all of the non-Michigan Plaintiffs on

  the basis of forum non conveniens, acknowledging that a trial court may only exercise its discretion

  to apply forum non conveniens provided that some other appropriate forum exists. Specifically,



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  the court stated that “Appropriate forums are the site of the incident, a corporation’s state of

  incorporation or principal place of business and the state of plaintiff’s domicile.”

         211.    In February 2020, Plaintiffs applied for leave to appeal the appellate decision with

  the Michigan Supreme Court, which was denied on November 4, 2020.

         212.    On November 25, 2020, Plaintiffs moved the Michigan Supreme Court for

  reconsideration. On July 16, 2021, that request was denied.

         213.    Plaintiffs now bring this case in accordance with the Order of the Michigan Court

  of Appeals.

         214.    Concurrently, Cyr plaintiffs from all 50 states and Puerto Rico assert claims herein.

         215.    Plaintiffs anticipate this case will be promptly transferred to the pending

  Multidistrict Litigation, In re: Ford Motor Co. DPS6 Powershift Transmission Products Liability

  Litigation, MDL No. 2814 pursuant to 28 U.S.C. § 1407, which was created by Ford for all DPS6

  cases filed nationwide, will serve the convenience of the parties and witnesses and promote the

  just and efficient conduct of this litigation. The JPML held:

         On the basis of the papers filed and the hearing session held, we find that
         these actions involve common questions of fact, and that centralization will
         serve the convenience of the parties and witnesses and promote the just and
         efficient conduct of this litigation. The actions share complex factual questions
         arising out of allegations that the DPS6 PowerShift Transmission installed in
         certain Ford Fiesta and Ford Focus vehicles is defective and negatively affects
         the drivability, safety, and useful life of the vehicles. The actions allege that
         plaintiffs' vehicles suffer from similar transmission-related problems,
         including slipping, bucking, jerking, sudden acceleration, delayed acceleration
         and downshifting, and premature wear that requires repair or replacement.
         Common factual questions include (1) whether the design or manufacturing of
         the PowerShift transmission is defective; (2) defendant's knowledge of, and
         conduct in response, to the alleged defect; and (3) whether vehicle owners and
         lessees have suffered a diminution in vehicle value or other economic damages.
         Centralization will eliminate duplicative discovery; prevent inconsistent pretrial
         rulings; and conserve the resources of the parties, their counsel, and the
         judiciary.


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  The actions in MDL No. 2814 involve common factual questions arising out of allegations that the

  DPS6 PowerShift Transmission installed in certain Ford Fiesta and Ford Focus vehicles is

  defective and negatively affects the drivability, safety, and useful life of the vehicles. See In re

  Ford Motor Co. DPS6 PowerShift Transmission Prods. Liab. Litig., 289 F. Supp. 3d 1350, 1352-

  53 (J.P.M.L. 2018).

                               FACTS COMMON TO ALL COUNTS

    OVERVIEW OF THE DESIGN AND OPERATION OF THE DPS6 TRANSMISSION

          216.    Ford introduced the DPS6 Transmission (the “DPS6”) in its Fiesta and Focus

  vehicles for the 2011 and 2012 model years, respectively.

          217.    Plaintiffs’ vehicles were manufactured by Ford and delivered to Plaintiffs equipped

  with the DPS6. Ford offered the PowerShift Transmission as the sole “automatic transmission”

  option in Plaintiff’s vehicle.

          218.    The DPS6 was designed, with input from Ford, by Getrag, a German transmission

  manufacturer. Getrag worked in concert with LuK, a German manufacturer of clutch components.

  The parts were supplied to Ford for incorporation as original equipment into Ford Focus and Fiesta

  vehicles. According to Ford, the DPS6 was supposed to provide uninterrupted torque from “twin

  internal clutches to keep changes among its six forward gears smooth and seamless, automatically.

  One clutch supports the uneven gearset, one, three and five; while the other clutch controls the

  even gears, two, four and six. The powertrain control unit that electronically integrates and

  harmonizes engine and DPS6 PowerShift automatic transmission operation always keeps the

  engine in peak efficiency range. In conjunction with six optimally spaced gears, DPS6 increases

  smoothness between gears, without engine torque falling off.”




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         219.    The DPS6 is neither a traditional manual transmission, nor a typical automatic

  transmission, but rather is a computerized “automated manual” transmission.

         220.    Traditional manual transmissions use a driver-controlled clutch. By pressing and

  releasing a foot pedal, the driver causes the clutch to mechanically engage and disengage the

  engine from the transmission, allowing the vehicle to travel continuously while the driver manually

  changes gears. The clutch in a traditional manual transmission is a “dry clutch,” incorporating at

  least one clutch disc, which is covered with a friction material (asbestos, carbon fibers). The clutch

  disc is fixed to the input shaft of the transmission’s gearbox. When the friction material on the face

  of the clutch disc is pressed against the engine’s rotating flywheel (which is done with a “pressure

  plate” utilizing strong springs), the clutch disc “locks onto” the flywheel with tremendous force,

  allowing the engine’s flywheel to turn the transmission’s input shaft with virtually no slippage or

  friction loss. Because a dry clutch allows for transfer of virtually all the engine’s power to the

  transmission without friction losses, a properly designed and operating manual transmission is

  highly fuel-efficient. However, operation of a manual transmission can be difficult for less

  experienced drivers and can result in the vehicle jerking or shuddering during improper operation,

  manual transmissions are disfavored by some consumers. Moreover, the dry clutch will fail to

  operate properly if the friction material is contaminated by oil from either the engine or the

  transmission’s gearbox.

         221.    Traditional manual transmissions are characterized by gear ratios that are selectable

  by locking selected gear pairs to the output shaft within the gearbox. All gears within the gearbox

  are and must remain lubricated by oil. The gears are arranged on parallel shafts: the input shaft,

  which is driven by the engine’s rotation power transferred by the clutch as discussed above, must

  be sealed to prevent gearbox oil from contaminating the dry clutch. The output shaft transmits



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  rotation power out to the vehicle’s wheels. Sometimes a different shaft, known as a countershaft

  or layshaft, is arranged in parallel alongside the output shaft; in those applications, the layshaft is

  turned by the input shaft and from there, essentially serves as the input shaft for purposes of the

  gear arrangements and engagements with gears on the output shaft. The input shaft, or layshaft,

  and its gears generally rotate at the same speed as the engine when the clutch disc is pressed to the

  flywheel. Each input shaft gear is enmeshed with companion gears on the output shaft; the gears

  slide along the shafts, when selected by the driver using the shift lever, to achieve different overall

  gear ratios for launching from a standstill, lower speeds, higher speeds, and so on. However,

  because the various pairs of gear sets are not always engaged with each other, shifting requires the

  gear speeds to be precisely synchronized and can result in difficult gear engagements, particularly

  for inexperienced drivers or with worn gear sets or worn synchronizers.

         222.    In contrast, typical automatic transmissions free the driver from operating the dry

  clutch using a fluid-filled device called a torque converter. The torque converter is a fluid coupling,

  in which two turbines oppose each other within a sealed fluid-filled container. The engine is

  connected to one turbine and the transmission’s input shaft is connected to the other. When the

  engine rotates its turbine, the moving and pressurized fluid rotates the opposite turbine causing

  power to be transferred to the transmission’s input shaft. Thus, the torque converter substitutes for

  a dry clutch, transmitting power from the engine to the transmission’s input shaft through a fluid

  medium rather than direct mechanical engagement to the flywheel.

         223.    Conventional automatic transmissions are characterized by more complicated

  “planetary gear sets,” rather than the parallel gears on shafts as in a typical manual. The

  conventional automatic transmission’s gearbox contains an input shaft with gears (known as “sun

  gears”) that are surrounded by three or four smaller gears (known as “planetary gears”). The



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  planetary gears are held in position relative to each other by a brace (known as a “carrier”). The

  planetary gears surround and are enmeshed with the sun gear. Meanwhile, the set of planetary

  gears is itself surrounded by (and each planetary gear is enmeshed with) an outer ring gear. If the

  sun gear is rotated and the ring gear held stationary, the planetary gears rotate in an orbit around

  the sun gear, thereby turning the carrier (and anything connected to the carrier). If the sun gear is

  rotated and the planetary carrier held stationary, the ring gear (and anything connected to that) will

  rotate around the entire assembly. The arrangements of sun, ring, and planetary gears are moved

  hydraulically forward and backward along the input shaft, and the different components variously

  allowed to spin or held stationary, to result in various overall gear ratios. As a result of this

  arrangement, the gear shifts are typically smoother (because the sun, planetary, and ring gears are

  constantly engaged with each other).

         224.    Automatic transmissions offer increased comfort and convenience to drivers

  because the torque converter’s fluid coupling transmits power from the engine to the transmission

  smoothly and predictably, and because the planetary gear arrangement is more stable and smoother

  in its operation. Also, there is no need to keep any friction surfaces “dry” or separate from the

  lubricating transmission fluid. However, conventional automatics are generally less fuel efficient

  than manual transmissions because the torque converter transfers power through fluid less

  efficiently than a mechanical dry clutch, and a conventional automatic’s hydraulic shifts are not as

  “positive” as a manual transmission’s shifts.

         225.    Plaintiffs are informed and believe, and therefore allege, that Ford utilizes and has

  always utilized manual transmissions featuring a dry clutch as described above and featuring a

  gearbox housing input and output gears on parallel input and output shafts. Plaintiffs are informed

  and believe, and thereby allege, that Ford has never, in any instance, equipped any Ford vehicle



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  for sale to the public with a manual transmission that used any different general type of clutch, nor

  any different general type of gearbox.

         226.    Plaintiffs are informed and believe, and therefore allege, that Ford utilizes, and at

  all times prior to 2010 had always utilized, automatic transmissions featuring a torque converter

  to provide a fluid coupling as described above, and featuring a gearbox housing planetary gear sets

  as described above, with a few notable exceptions: the continuously variable transmission (CVT)

  recently developed and used in some Ford vehicles; the dual-dry-clutch transmission used in the

  $200,000+ Ford GT; the dual-wet-clutch transmission used in some models in the European

  market; and the DPS6 “automatic” transmission used in Plaintiffs’ vehicles.

         227.    Plaintiffs are informed and believe, and therefore allege, that Ford has never, in any

  other instance, equipped any Ford vehicle for sale to the public with an “automatic” transmission

  that used any different general type of power coupling, nor any different general type of gearbox.

         228.    Ford marketed and sold its DPS6 PowerShift Transmission as an automatic

  transmission that offered the “best of both worlds” combining a manual transmission’s fuel

  economy with an automatic transmission’s ease of operation and shift quality.

         229.    Ford’s DPS6, while sometimes referred to as an automatic, is a set of computerized

  manual transmissions. It lacks a torque converter, instead using two clutches to mechanically

  engage and disengage the engine and transmission. Whereas similar “automated manual”

  transmissions on the market use “wet” clutches bathed in oil, Ford’s DPS6 clutches lack the oil

  pumps and other components of a wet clutch system, and instead operate “dry.”

         230.    Ford incorporated the DPS6 into Fiesta and Focus vehicles to meet heightened

  governmental and consumer expectations for fuel economy, performance, convenience, and

  efficiency. Ford designed and marketed its DPS6 PowerShift Transmission as a more advanced



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  and fuel-efficient automatic transmission. According to Ford’s press release dated March 10, 2010,

  “PowerShift with dry-clutch facings and new energy-saving electromechanical actuation for

  clutches and gear shifts saves weight, improves efficiency, increases smoothness, adds durability

  and is sealed with low-friction gear lubricant for the life of the vehicle. The transmission requires

  no regular maintenance.”

         231.    In theory, a computer-controlled, automated manual transmission may provide the

  convenience of an automatic transmission without sacrificing the fuel efficiency and shift speed

  of a manual transmission. In practice, however, Ford’s PowerShift Transmission is plagued by

  numerous problems and safety concerns.

                                        THE DPS6 DEFECTS

         232.    The DPS6 is defective because it suffers from the following safety-related

  mechanical and electronic failures, which arose following the initial launch of the transmission in

  late 2010 (for the 2011 MY Fiesta) and continued throughout the next six-years: Wet Clutch”

  Shudder Attributed to Leaking Input Shaft Seals, Mechatronic Actuation Module (MAM) Failures,

  “Dry” Clutch Shudder, Software Calibration Issues (collectively the “Transmission Defects”).

         233.    These Transmission Defects, individually or collectively, caused the following

  “symptoms” in the DPS6’s performance: constant gear slipping, bucking, kicking, jerking, harsh

  engagement, premature internal wear, sudden acceleration, delayed downshifts, delayed

  acceleration, difficulty stopping the vehicle, and, eventually, premature transmission failures.

         234.    Such Transmission Defects that cause passenger vehicles to jerk, buck, suddenly

  lurch forward, delay acceleration, delay deceleration, and/or suddenly lose forward propulsion

  present a safety hazard – particularly when they occur without warning – because they severely




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  compromise the driver’s ability to control the car’s speed, position, acceleration (including from a

  stop), and deceleration.

         235.    For example, these conditions make it difficult to safely merge into traffic. Even

  more troubling, the Transmission Defects can cause the vehicle to fail to downshift and decelerate,

  but instead continue to transfer power to the transmission and even surge the engine’s RPMs, even

  when the brakes are depressed. As a result, drivers of vehicles equipped with the DPS6 have

  reported their vehicles lurching forward into intersections and at red lights, despite applying their

  brakes to stop the car.

         236.    The Transmission Defects also causes premature wear to the DPS6’s clutch plates

  and other internal components, which results in premature transmission failure and requires

  expensive repairs, including premature transmission replacement.

         237.    Almost immediately after it began selling DPS6-equipped vehicles, Ford began

  receiving complaints and other information that the DPS6 PowerShift Transmission was not

  working properly or “as advertised.” For example, in a 2011 New York Times review of the Ford

  Focus, the reviewer stated that “Ford programmed the PowerShift Dual-clutch transmission to

  change gears in odd and infuriating ways” and that “[t]he transmission is often in the wrong gear

  at the wrong time, resulting in jerks, pauses and lethargic acceleration.”

         238.    In response to these criticisms, Greg Burgess, an engineer at Ford, conceded in the

  same New York Times article that “[i]t is quite a challenge to deliver something that is very, very

  fuel efficient and yet feels like a conventional automatic, and there are some balances and some

  trade-offs that we make.”

         239.    In response to complaints about the Transmission Defects, in 2010 and 2011, Ford

  issued multiple Technical Service Bulletins (“TSBs”) to its dealers and authorized repair facilities



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  acknowledging defects in the DPS6. Ford’s TSB from September 2010, covering the 2011 Ford

  Fiesta, informed dealers and service personnel of “concerns such as no engagement or intermittent

  no engagement in Drive or Reverse when shifting from Park to Drive or Reverse, grinding noise

  during engagement, and/or check engine light with transmission control module (CM) diagnostic

  trouble code…”

           240.   Similarly, Ford’s TSB released on January 1, 2011, covering the 2011 Ford Fiesta

  with the PowerShift Transmission, informs dealers and service personnel of problems with the

  PowerShift Transmission causing “a loss of power, hesitation, surge, or lack of throttle response

  while driving.”

           241.   Ford’s TSB from March 31, 2011, also covering the 2011 Ford Fiesta, informs

  dealers of problems where the PowerShift Transmission “exhibit[s] a rattle/grind noise in reverse

  only.”

           242.   Ford issued two separate TSBs in May 2011, both covering the Ford Fiesta. These

  TSBs addressed problems with the DPS6 including “concerns in Drive or Reverse when shifting

  from Park to Drive or reverse, no engagement, delayed engagement, intermittent engagement,

  noise during engagement…”

           243.   Another Ford TSB released in September 2011 advised dealers to reprogram the

  transmission computer if 2011 Ford Fiesta owners complained about “hesitation when accelerating

  from a low speed after coast down, harsh or late 1-2 upshift, harsh shifting during low-speed tip-

  in or tip-out maneuvers and/or engine r.p.m. flare when coasting to a stop.”

           244.   The 2012 Ford Focus was the subject of a September 2011 Ford TSB, which

  informed dealers and service personnel of transmission problems including: “RPM flare on

  deceleration coming to a stop, rough idle on deceleration coming to a stop, intermittent engine idle



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  fluctuations at a stop, intermittent vehicle speed control inoperative, intermittent harsh

  engagement/shift…”

             245.    In May of 2012, Ford issued a “Customer Satisfaction Program: Program Number

  12B37.” In a letter sent to 2012 Ford Focus drivers, Ford indicated that drivers “may experience

  rough or jerky automatic transmission shifts. In addition, the vehicle may experience roll back

  when the driver is transitioning from the brake pedal to the accelerator pedal while on a slight

  incline.” Ford, however, did not issue a recall and did not warn drivers of the safety risks associated

  with these known problems – even though, as alleged below, Ford was obligated to so do.

       FORD KNEW ITS DPS6 POWERSHIFT TRANSMISSION WAS DEFECTIVE AND
         UNSAFE EVEN BEFORE IT BEGAN SELLING DPS6-EQUIPPED VEHICLES

             246.    Prior to the DPS6’s introduction into the marketplace, Ford determined that a

  component failure that led to an “unintended neutral” – i.e., a loss of motive power – was assessed

  as the highest severity risk factor on its Failure Mode and Effects Analysis (FMEA).

             247.    Ford made this FMEA determination by employing a standard risk-assessment

  technique to determine the myriad ways this dual dry-clutch transmission might fail, the likelihood

  of such failures, and the severity of the consequences.

             248.    The FMEA process, which Ford itself helped pioneer, ranks the severity of

  component failures on a ten-point scale, with the high end of the scale denoting the most severe

  failures.1

             249.    Specifically, a rank of “10” means a failure mode that is “hazardous without

  warning,” described as “very high severity ranking when a potential Failure Mode affects safe

  vehicle operation and/or involves noncompliance with government regulation without warning.”2



  1
      Failure Modes and Effects Analysis, Ford FMEA Handbook, version 4.2; pg. 1-4, 3-33; December 2011
  2
      VGS 20346048, Severity 10 TCU Connector Not Error Proofed; Greg Goodall; October 3, 2008.

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            250.     A rank of “9” means a mode that is “hazardous with warning,” also described as

  “very high severity ranking when a potential high failure mode affects safe vehicle operation

  and/or or involves noncompliance with government regulation with warning.”3

            251.     Failure modes with high severity ranks must be designed out of the product, or have

  robust countermeasures designed into the product, or (if, despite the former two, they occur in the

  field) lead to a recall.

            252.     Ford and Getrag engineers identified a number of failure modes in the DPS6 that

  could result in “Unintended Neutral Events” – meaning the transmission would disengage the gears

  and slip into the neutral position, even though the driver had selected a drive gear and the gear

  shift lever remained in the driver selected position, and regardless of the vehicle’s speed. Such

  Unintended Neutral Events resulted in the vehicle losing drive/motive power from the engine,

  which poses a safety hazard for a number of reasons, including, inter alia, the risk of collision; the

  driver’s inability to drive the vehicle out of dangerous traffic; and the risk to occupants when

  stranded in high-speed road conditions. Moreover, government regulations require transmissions

  to provide engine braking during deceleration, which is nonexistent during an Unintended Neutral

  Event.

            253.     During 2007 and 2008, Ford and Getrag argued as to how such an unintended

  neutral event should be rated/classified as a safety issue. In these arguments, Ford corporate

  officials, including Ford’s Office of the General Counsel (OGC), argued that a failure mode that

  led to an unintended neutral event should be ranked as the highest or most severe safety type of

  safety problem, referred to as a Severity Level 10 (“SEV 10”).




  3
      VGS 20346048, Severity 10 TCU Connector Not Error Proofed; Greg Goodall; October 3, 2008.

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          254.    On February 20, 2008, Mr. Kirchhoffer and Joe Wickenheiser (a Ford “Small Car

  External Investigations and TREAD Reporting Manager”) shared an Audi recall involving a

  “competitive Electro-hydraulic clutch actuator” in which a small number of 2004 Audi TT models

  had a safety defect that could lead to degraded clutch performance: “The clutch could lose its

  ability to provide torque to the transmission without a prior warning, which could allow the vehicle

  to roll, increasing the risk of a crash.”4 Mr. Kirchhoffer noted in response: “This info is very helpful

  with respect to ‘Unintended Neutral.’ This is exactly the same event we are trying to avoid

  occurring to the customer. As a benchmark to be cascaded to the team – very helpful. It reinforced

  the effort to keep SEV=10 and drive the detection on manufacturing to level =1 to avoid this

  happening – much appreciated.”5

          255.    Further, Dave Garrett, a Ford Campaign Prevention Specialist, opined to the

  Ford/Getrag team that “[i]n practice, I urge engineers to increase the FMEA severity to 10, for any

  failure mode that has caused a previous Safety or Emission related recall.”6

          256.    As detailed, infra, Ford has issued safety recalls on other vehicle models for failure

  modes that caused a stall or loss of motive power event, including in circumstances when the driver

  was forewarned.

          257.    Despite the stated concerns of its Office of General Counsel, Vehicle Safety Office,

  and Quality Technical Specialists, Ford’s “senior management team” chose to adopt Getrag’s

  position and ultimately rated the Unintended Neutral failure mode as merely a SEV “8.”

          258.    For example, on September 25, 2008, Mr. Kirchhoffer wrote an internal email to

  Ford’s DPS6 team entitled, “Unintended Neutral Severity Rating: Clear Direction,” in which he



  4
    VGS20386981; RE: Audi VOQ.xls; Johann Kirchoffer; Ford Motor Company; February 20, 2008.
  5
    VGS20386981; RE: Audi VOQ.xls; Johann Kirchoffer; Ford Motor Company; February 20, 2008.
  6
    VGS7-0058850; Ford Severity Classification; David Garrett; Ford Motor Company; June 15, 2007.

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  explained that “[p]er direction from our senior management team please be advised that: 1) The

  Unintended Neutral Event shall be renamed to ‘Loss of Drive’; 2) The SEV Classification is

  confirmed to SEV = 8….”

     AFTER BEGINNING TO SELL DPS6-EQUIPPED VEHICLES, FORD RECEIVED
     ADDITIONAL INFORMATION THAT THE TRANSMISSION DEFECTS WERE
          DANGEROUS, REPORTEDLY CAUSING ACCIDENTS, INJURIES

         259.    The unintended neutral failure events plagued both Fiesta and Focus vehicles

  equipped with the DPS6, and these safety defects continue to this day. For example, on February

  22, 2011 (after the launch of the Fiesta and in preparation for the launch of the Focus), DPS6

  Transmission Systems Engineer, Tom Hamm, wrote an email to Ford engineers David Lempke

  and Piero Aversa regarding the upcoming 2012 Focus vehicle. Mr. Hamm stated, “Please tell me

  we are not going to launch this vehicle with the same issue we have on the Feista [sic]?”

         260.     Customers consistently reported that the transmission lost power at inopportune

  times, leaving drivers unable to maneuver in traffic or startling other drivers, leading to crashes,

  and near crashes.

         261.    On September 20, 2011, Charles Baldree (a Ford sales manager for 30 years)

  contacted Mr. Lempke to share his own experiences in which a DPS6 transmission simply stopped

  working in third gear – a dangerous condition in certain driving scenarios:

         Just thought I would provide some feedback, and find out when the new TSB will
         be out. I am still having problems with my transmission (shuttering, hesitating,
         whining noise, etc.) but this week a couple of new ones surfaced. I experienced it
         twice. Both time I think the car was probably in about third gear when the
         transmission seemed to go in “free fall.[sic] It simply stopped working. After a few
         seconds, the transmission kicked back in with a loud thump and shutter. The loss
         of power could have been serious in on-coming traffic. The original TSB helped
         with the shift points, but I am really hoping the second TSB will fix the remaining
         problems. I was looking at all the posts on Focus Fanatics and believe me there are
         many, many 2012 Focus owners who are up in arms over the Getrag transmission.
         I think if Ford doesn’t do something quick there will be a revolt. Owners are so
         mad they are bad mouthing the product something furious. Also, some of them

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         think there is a serious safety issue with the transmission and plan to contact the
         appropriate government authority to demand a recall. Other owners are asking for
         the Company to provide an extended warranty on the transmission.7

         262.    Ford was well aware that it was likely that failures, complaints, crashes causing

  property damage and injuries were likely to continue.

         263.    The DPS6 transmission suffers from multiple safety-related mechanical and

  electronic failures that emerged from the initial launch of the transmission in late 2010 (for the

  2011 MY Fiesta) and continuing over a six-year period due to the Transmission Defects referenced

  supra. According to Ford’s internal documentation, these Transmission Defects include:

         Because of a mismatched coefficient thermal expansion between the printed circuit
         board and the ATIC chips, over time, thermal cycling and mechanical strain will
         produce solder cracks on multiple ATIC91 ATC106 pins.8 This leads to a loss of
         communication and an unintended neutral. Ford first learned of this issue in January
         2010, when vibration and rapid change of temperature testing found pin failures
         and suspected solder failures: “Parts are being prepared for in depth solder joint
         investigation.”9

         Software Calibration Issues. “Another issue that surfaced in 2016 was Ford’s
         decision to release a software calibration that allowed power loads to the clutch that
         could result over time in the failure of either the friction plate or the pressure plates.
         Notably, software calibration issues have plagued the DPS6 Transmission since
         before its launch.

         Delayed Crank Failure. In 2016, Ford identified a delayed crank failure defect with
         the DPS6 that was due to the “clutch actuator lever component inside the
         transmission.”10

         264.     As a result of one or more of these defects, acting either individually or in

  combination, the PowerShift Transmissions in Ford Focus and Fiesta vehicles consistently slip,




  7
    VGS20044739; Subject: 2012 Focus Transmission Issues; Charles Baldree; 2011.
  8
    VGS5-00365439; Re: Request for Confidential Treatment of Information Pertaining to a Recent WebEx
  Presentation, November 19, 2017.
  9
    VGS7-0076353; GETRAG Summary for January 29,2010 Conti meeting: handout for today’s 6DCT250 meeting;
  Ibrahim Kaddouh; Ford Motor Company; January 29, 2010.
  10
     Ford DPS6-SAC 00045387; RE: QSF do Fiesta – info; Colin Menapace; Ford Motor Company; November 29,
  2016.

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  buck, kick, jerk, harshly engage; and have premature internal wear, sudden acceleration, delay in

  downshifts, delayed acceleration, create difficulties in stopping the vehicle, and, eventually,

  premature transmission failure.

         265.    The Transmission Defects cause unsafe conditions in vehicles equipped with the

  PowerShift Transmission, including, but not limited to suddenly lurching forward, delayed

  acceleration, and sudden loss of forward propulsion (i.e., the “unintended neutral events”

  referenced above). These conditions present a safety hazard because they severely affect the

  driver’s ability to control the vehicle’s speed, acceleration, and deceleration. For example, these

  conditions make it difficult to safely merge into traffic. Even more troubling, the Transmission

  Defects can cause the vehicle to fail to downshift and decelerate, but instead continue to transfer

  power to the transmission and even surge the engine’s RPMs, when the brakes are depressed. As

  a result, drivers of vehicles equipped with the PowerShift Transmission have reported their

  vehicles lurching forward into intersections at red lights due to the failure of their braking efforts

  to stop the vehicle.

         266.    Plaintiffs are informed and believe, and on that basis allege, the Transmission

  Defects also cause premature wear to the PowerShift Transmission’s clutch plates and other

  components, which results in premature transmission failure and requires expensive repairs,

  including premature transmission replacement.

         267.    As early as 2010, Ford knew or should have known that the PowerShift

  Transmission was defective.

     DESPITE KNOWING THAT THE DPS6 POWERSHIFT TRANSMISSION HAD
     SAFETY DEFECTS, FORD FALSELY AND PUBLICLY REPRESENTED – TO
    PLAINTIFFS, CONSUMERS, AND GOVERNMENT REGULATORS – THAT THE
    PROBLEMS WITH THE DPS6 TRANSMISSION WERE NOT SAFETY-RELATED




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          268.    In its official communications with national agencies charged with consumer

  protection or safety, Ford characterized the DPS6’s myriad defects as customer satisfaction or

  transmission quality issues and denied that they had caused any (or only a few) crashes.

          269.    In a November 2014 presentation to the NHTSA, Ford purported to address the

  solder cracks on the ATIC chips in the MAM, transmission shift quality, rollback, the shudder

  problem and the leaking input shaft seals problems detailed above. But in this presentation, Ford

  did not mention any threats to safety, nor did Ford include information about crashes and injuries

  that were alleged to have been caused by the loss of motive power and other transmission defects.11

          270.    Ford acknowledged internally that as of May 31, 2015, it had received 33,408

  warranty reports alleging “loss of motive power” & “no starts” on vehicles with DPS6

  transmissions identified in warranty analysis in all regions based on the MAM communications

  concerns detailed above.”12

          271.    In March 2016, Ford (via its wholly owned subsidiary Ford of Australia) made a

  similar presentation to the Australian Competition and Consumer Commission (ACCC) about the

  complaints regarding the DPS6 by enumerating its actions to repair vehicles via a Technical

  Service Bulletin. A month earlier, the Australian Department of Infrastructure and Regional

  Development, which assists the ACCC on matters of vehicle safety, initiated an investigation based

  on “several complaints over the past four years relating to 2010- 2014 Ford Focus and Ford Fiesta

  transmissions. “The Department considers reports of safety issues of non-compliant standards, and

  where a potentially systemic issue is identified, the Department may investigate further.” The

  DIRD sent seven complaints and asked Ford if it had received similar complaints and asked, “Is



  11
     VGS5-00365439; Re: Request for Confidential Treatment of Information Pertaining to a Recent WebEx
  Presentation, November 19, 2017.
  12
    VGS7-0179114; Field Review Committee Fact Sheet Draft; undated.

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  Ford aware of any reported safety incidents attributed to the dual clutch transmissions in Focus or

  Fiestas?”13

         272.    In January 2017, Ford made yet another similar presentation to the Thailand Office

  of the Consumer Protection Board, detailing the wet and dry shudder issues. It did not mention the

  solder cracks in the MAM. Again, Ford asserted:

         The quality issues do not pose safety concerns • Wet and dry clutch shudder affects
         drive quality only. Ford’s Automotive Safety Office (ASO) met with the US
         National Highway Traffic Safety Administration (NHTSA) to review the
         PowerShift quality issues and share field data. NHTSA reviewed the data, asked
         for additional data, and has not identified a safety defect. Ford Thailand has not
         received any reports of injuries relating to the PowerShift transmission quality
         concerns. Ford ASO has continued to monitor field data and has not identified a
         safety issue.14

         273.    In press statements, Ford continued to assert that the DPS6’s multiple defects did

  not threaten safety, nor did they cause crashes.

         274.    For example, in a statement intended for the European press about the leaking input

  shaft seals, Ford stated: “Is this a safety issue for customers? No. Our team has investigated every

  report. After an exhaustive engineering evaluation, we have identified the concern as a shift-quality

  issue, and not safety related.”15

         275.    In a statement intended for the Chinese press Ford similarly stated: “Is his a safety

  issue? Have you received any reports of injuries or accidents related to this issue? [PD] No.”16

         276.    Contrary to these definitive public statements, in private/internal corporate

  communications Ford officials described the MAM failures as longstanding safety hazards and




  13
     Ford-DPS6-SAC- 00021948; Ford Focus and Fiesta Transmission Complaints [SEC=UNCLASSIFIED]; Caitlin
  Arnold; Department of Infrastructure and Regional Development.
  14
     Ford-DPS6-SAC 0012328; Meeting with OPCB; Ford Motor Company; January 20, 2017.
  15
     VGS5-00324037; DPS6 Quality Issue - European Perspective; Ford Motor Company.
  16
     VGS7-0130891; Questions to be answered; Ford Motor Company.

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  acknowledged that the cracks in the solder joints, along with the dry shudder and leaking input

  shaft seals defects were linked to crashes, injuries and one death.

          277.    In May 2011, a 2011 Fiesta was brought into service for a condition in which the

  vehicle went forward while in reverse gear. An email exchange between Ford engineers David

  Lemke and Tom Hamm noted: “Tom…make the call down there ASAP.. find out more details..

  Ford Safety Office wants to get involved.”17 And in another email related to this vehicle Hamm

  asks a colleague to prevent the dealer from swapping out the vehicle’s transmission before they

  can take a closer look: “I wouldn’t be asking if it wasn’t a safety issue.”18

          278.    In August 2012, Ford officials prepared a “white paper” to outline the problem:

  “Ford vehicles equipped with DPS6 transmission may experience a loss of motive power due to

  an issue with the DPS6 MAM. Approximately 2.1M global vehicles have been produced with

  potential for this concern. A Permanent Corrective Action (PCA) has been identified and will be

  in production by March 2015. Purchasing is working with the MAM supplier to increase

  production capacity for additional service parts supply.”19

          279.    In an August 13, 2012, internal email exchange regarding the DPS6 MAM among

  Ford transmission engineers, Jay Richardson of Ford’s “6F15/DPS6/MPS6/FN Transmission

  Planning Powertrain Strategy & Business Office” noted: “This being said, Roger has passed on

  that this is a Safety issue. If that is true, then this is a must do regardless of business case. The

  paper needs to clearly point out this issue.”20




  17
     VGS20039682; FW: Report Summary for the CQIS Report#BEFAK003; David Lempke; May 9, 2011.
  18
     VGS20039744; RE: Vehicle located at Hampstead, N.Y. Tom Hamm; May 10, 2011.
  19
     VGS7-0059304 Overt Detection and Early Warning of DPS6 Mechatronic Actuation Module (MAM) Issue. Ford
  Motor Company; 2014.
  20
     VGS20149430; DPS6 NG MAM Paper; Jay Richardson; Ford Motor Company; August 13, 2012.

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          280.    In 2013 (contrary to Mr. Kwasniewicz’s later assertion), Ford and Getrag engineers

  were able to witness first-hand DPS6 safety concerns, such as the “slingshot” behavior:

          John and I were at a dealer last week and invited the Getrag team to come along- to
          get some real world feel of tech issues - unfortunately the guy didn’t have bring
          equipment with him - we drove a vehicle that had a sling shot affect during slight
          power on down shifts what do you do for that one??? tell customer its normal and
          they wasted their time bringing it in, perform the IDS routines and adaptive drive
          and see if that helps or slap a TCM or a clutch into it - or both. These are the
          situations we need deeper diagnostics.21

          281.    In January 2014, Ford issued a “White Alert,” defined as a “report of possible safety

  or regulatory concern,” for a customer concern described as “an engine stall while driving, hard to

  start.”22

          282.    In a March 26, 2014, internal email exchange that included Gunnar Hermann, Ford

  of Europe’s vice president for quality and Mr. Kwasniewicz, Ford employees admitted that the

  stalling reports were safety concerns: “Ted, Scott during my visit here in Israel, I was confronted

  with 4 cases, where stall conditions occurred while driving. This is clearly a safety related issue.

  Can you share your workplans please, need to understand how far we are away from a solution. I

  would appreciate your feedback.”23

          283.    In January 2015, an engineer discussing a Field Service Action related to the MAM

  defect noted that solder cracks on ACT 91 were a safety hazard: “Not sure 106 DTC’s should be

  included as they don’t have the safety issue the 91 does ... as they maintain ASM 3 speed.24

          284.    Over a two-year period from September 2014 to August 2016, Ford engineers

  opened three 14D investigations – one into the MAM/ATIC chip failures, one into the leaking




  21
     RE: AVL Data from Ford Fiesta/Focus; Jeremiah Cannon; Ford Motor Company; April 4, 2013.
  22
     VGS20207472; RE: Israel White Alert for Stall; Mark Thompson; Ford Motor Company; January 22, 2014.
  23
     Subject: AW: Israel White Alert for Stall; Gunnar Hermann; Ford Motor Company; March 26, 2014.
  24
     VSG7-0163883 RE FSA; Jerimiah Cannon; Ford Motor Company; January 14, 2015.

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  input shaft seal problem and one into the dry shudder problem. A 14D is often a precursor to a

  recall. According to Ford’s FMEA Handbook:

          Before an automotive manufacturer engages in a campaign, there has been thorough
          investigation and analysis of the issue. Often this analysis begins with a Global 8D
          where the root cause which generated the in field defect to occur is determined.
          Additionally, the “escape” root cause is determined. In other words, how did the
          product testing miss this defect? Corrective actions are targeted at both items and
          implemented as part of the correction to the vehicles in question. When an issue is
          raised to a recall, the Global 8D will have additional information added, and it will
          become a 14D. Both of these investigations characterized the problems as design
          defects and noted crashes and injuries associated with these defects.25

          285.    On or about September 2014, Ford engineers initiated a 14D to analyze the leaking

  input shaft seal problem and noted: “Ford Transmission Driveline Engineering (TDE) has sealing

  system design rules that apply to internal designs.

          286.    As noted, supra, Ford did not share with various governmental agencies the extent

  of its knowledge of the various defects, nor of the crashes and injuries associated with them.

  Indeed, the NHTSA review into the DPS6 transmission defects never led to an actual defect

  investigation because Ford never disclosed the full details about the safety issues.

          287.    As a result, Ford was successful in avoiding both a rapid decline in sales and safety

  recalls by hiding the DPS6 safety defects from consumers and regulators.

          288.    Rather than issue safety recalls for a problem Ford could not “fix,” Ford instead

  launched four different “Special Customer Service Campaigns” from 2011 to 2016, which merely

  extended the warranty duration for Focus and Fiesta vehicles plagued by leaking input shaft seals

  and the MAM solder cracks.26 In addition, Ford issued no fewer than 17 Technical Service




  25
    FMEA Handbook; Version 4.2; Pg Glossary-2; Ford Motor Company 2011.
  26
    Customer Satisfaction Program 11B31, Ford Motor Company, January 13, 2012; Customer Satisfaction Program
  14M01; Ford Motor Company; July 21, 2014; Customer Satisfaction Program 14M02; Ford Motor Company;
  February 20, 2015; Customer Satisfaction Program 15B22; Ford Motor Company; August 4, 2015.

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  Bulletins (TSBs) from 2010 to 2016 outlining Ford-recommended repair procedures for a litany

  of DPS6 Transmission problems.

          289.     In July 2017, the Australian Competition and Consumer Commission initiated

  proceedings against Ford, “alleging that it engaged in unconscionable and misleading or deceptive

  conduct and made false or misleading representations in its response to customer complaints.”

  Specifically, the ACCC alleged that Ford consistently “lied to its customers about the nature of the

  defect – blaming it on their driving styles, rather than the transmission. About 35,000 vehicles sold

  in Australia had at least one repair relating to the DPS6 transmission, yet Ford refused to provide

  a refund or replacement vehicle to consumers, even after multiple repairs did not fix the issues. In

  most cases, Ford only provided replacement vehicles in accordance with its “PowerShift

  Ownership Loyalty Program,” which required consumers to make a significant payment [$7,000]

  towards a replacement vehicle.”27

          290.     In April 2018, Australia’s Federal Court ordered Ford to pay a (AUS)$10 million

  fine for “unconscionable conduct.” In addition, Ford had to establish a program to review customer

  requests for refunds or replacement vehicles made between May 1, 2015, and November 1, 2016,

  and to provide customers with access to more information about their cars, including the history

  of manufacturing defect repairs performed on their vehicles.28

          291.     In 2018, Ford was forced in a civil trial in Thailand to compensate 291 Focus and

  Fiesta owners for selling substandard vehicles. In the country’s first verdict in a class-action ruling,

  the South Bangkok Civil Court ordered Ford Sales & Service to pay between 20,000 and 200,000




  27
   ACCC takes action against Ford; press release; Australian Competition & Consumer Commission; July 27, 2017.
  28
   Court orders Ford to pay $10 million penalty for unconscionable conduct; press release; Australian Competition &
  Consumer Commission; April 26, 2018.

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  baht each, plus a 7.5% interest rate a year, for repair costs and lost time. “The award was for the

  production of unsafe, substandard and defective vehicles which put drivers at risk.”29

       FORD FAILED TO COMPLY WITH ITS REGULATORY OBLIGATIONS AND
                       REPORTING RESPONSIBILITIES

            292.   As a global automaker, Ford is aware of its safety recall obligations under

  controlling U.S. law; and has issued safety recalls for vehicles with defects that cause unintended

  stalls.

            293.   This controlling U.S. law includes, but is not limited to, Title 49, section 573 of the

  Code of Federal Regulations, entitled, “Defect and Noncompliance Responsibility and Reports,”

  sets forth the obligations and responsibilities of motor vehicle manufacturers such as Ford under

  49 U.S.C. §§ 30116-30121 (a portion of the National Traffic and Motor Vehicle Safety Act)

  regarding safety-related defects and noncompliance with Federal Motor Vehicle Safety Standards

  (FMVSS).30 Among those obligations are reporting requirements to the National Highway Traffic

  Safety Administration (“NHTSA”) to inform the agency of defective and noncomplying vehicles

  and equipment, and to allow NHTSA to assess the adequacy of manufacturers’ defect and

  noncompliance notification campaigns, of the corrective action, the owner response, and to

  compare the defect incidence rate among different groups of vehicles.31 Manufacturers are required

  to furnish a report to NHTSA “for each defect in his vehicles or items of original or replacement

  equipment that be or the Administrator determines to be related to motor vehicle safety, and for

  each noncompliance with a motor vehicle safety standard in such vehicles or items of equipment

  which either be or the Administrator determines to exist.”32


  29
     Ford Thailand Ordered to Compensate Focus and Fiesta Owners for Selling Substandard Vehicles; Chiang Raj
  Times; September 22, 2018.
  30
     49 CFR § 573.
  31
     49 CFR § 573.2.
  32
     49 CFR § 573.6.

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             294.    Further, under the Motor Vehicle Safety Act, 49 U.S.C. 30101, “motor vehicle

  safety” is defined in relation to NHTSA’s enforcement and regulatory authority as the “the

  performance of a motor vehicle or motor vehicle equipment in a way that protects the public

  against unreasonable risk of accidents occurring because of the design, construction, or

  performance of a motor vehicle, and against unreasonable risk of death or injury in an accident,

  and includes nonoperational safety of a motor vehicle.”33 This regulation sets a “5 working day”

  deadline for a manufacturer to make such notification:

             Each report shall be submitted not more than 5 working days after a defect in a
             vehicle or item of equipment has been determined to be safety related, or a
             noncompliance with a motor vehicle safety standard has been determined to exist.34

             295.    Plaintiffs are informed and believe, and on that basis allege, that Ford violated this

  reporting requirement by failing to report the safety-related defects, accidents, incidents and other

  matters alleged above to NHTSA within the mandatory five working day period.

             296.    Moreover, Ford consciously avoided a recall of the DPS6 transmission by claiming

  to several governmental authorities around the globe, including NHTSA, that the DPS6

  transmission’s multiple malfunctions only amounted to “customer satisfaction issues” and had not

  been linked to crashes, injuries and fatalities.

             297.    Ford understood its obligations under federal regulations to report these safety

  defects to the NHTSA, but rather than comply with federal law, Ford instead created a false

  narrative to NHTSA to forego a safety recall by focusing on improving the warning to customers

  before an impending transmission failure.

             298.    Ford has two divisions devoted to ensuring that its products meet all Federal Motor

  Vehicle Safety Standards and regulatory responsibilities – the Automotive Safety Office (ASO)


  33
       49 USC § 30102(a)(9).
  34
       49 CFR § 573.6.

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  and the Office of the General Counsel (OGC). According to Ford: “The Automotive Safety Office

  Serves as primary interface with organizations that deal with vehicle safety and defect/compliance

  matters and contributes technical advice to government agencies regarding safety rulemaking. We

  also provide technical analysis related to field performance of Ford vehicles.”35 In addition, Ford’s

  Office of General Counsel “interfaces with regulatory agencies, including EPA, NHTSA, EEOC

  and state attorneys general.”36 Further, in Ford’s 2014 Corporate Sustainability Report, Ford

  demonstrates its knowledge of its obligations under the Safety Act:

          In the U.S., the National Traffic and Motor Vehicle Safety Act of 1966 (the “Safety
          Act”) regulates vehicles and vehicle equipment in two primary ways. First, the
          Safety Act prohibits the sale in the United States of any new vehicle or equipment
          that does not conform to applicable vehicle safety standards established by the
          National Highway Traffic Safety Administration (NHTSA). Second, the Safety Act
          requires that defects related to motor vehicle safety be remedied through safety
          recall campaigns.

          Manufacturers are obligated to recall vehicles if they determine the vehicles do not
          comply with a safety standard or contain a defect affecting safety.37

          299.    Further, Ford’s internal process documents remind employees of these obligations.

  For example, in July 2013, Ford employees Joseph Borneo and Robin Buseck requested that Ford’s

  6-Sigma Center initiate a “Things Gone Wrong” (“TGW”) Task Force to conduct a consumer

  survey on the problems with the Focus and Fiesta DPS6 to determine how drivers experienced the

  transmission defect.38 As part of this process, the form used to make the request emphasized that

  the Ford Automotive Safety Office or the Office of General Counsel may ask for the results to

  satisfy a NHTSA inquiry. It also noted that any Transportation Recall Enhancement,




  35
     Ford Automotive Safety Office;
  https://corporate.ford.com/careers/departments/sustainability-environment-and- safety-engineering.html.
  36
     Ford Office of the General Counsel;
  https://corporate.ford.com/careers/departments/office-of-the-general- counsel.html.
  37
     2014-15 Ford Sustainability Report.
  38
     VGS20130916; 6-Sigma Center Survey Request Form; Ford Motor Company; July 18, 2013.

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  Accountability and Documentation (TREAD) Act-reportable information obtained by the survey

  must be included in Ford’s quarterly TREAD submission.

         300.    This knowledge is evident in Ford’s internal communications regarding the defects

  in the DPS6 transmission, in which Ford employees discuss scenarios that could prompt a recall,

  and ways to avoid triggering a TREAD reportable incident or the attention of the regulators.

         301.    For example, in January 2009, Ford engineers exchanged information indicating

  that Ford was aware that other manufacturers had launched recalls for defects like those that could

  affect the DPS6 transmission. In a January 21, 2009 email, Mr. Kirchhoffer shared a Daimler

  Trucks recall of 2,426 Thomas Built Buses, in which the automatic transmission control module

  could become corroded due to water and road spray intrusion, causing the starter motor to engage

  unexpectedly or the backup lights to operate intermittently.39

         302.    Mr. Kirchhoffer reminded his colleagues how severity levels assigned on the

  FMEA related to field actions later:

         From the Campaign Prevention team and connecting to the CP DD2 I would like
         to share with you the attached information about a campaign/field service Action,
         concerning a TCU exposed to splash water and corrosion similar to the MAM on
         the DPS6. The Failure Modes affecting the Back Up Light and Cranking leading to
         ‘Unexpected Vehicle Movement’ or Traffic Irritation are affected. This is effecting
         item 2.1.2) - Back Up Light Function - from the Electrical FMEA and item 2.4)
         concerning the Mechanical FMEA, failure modes leading to the back up light
         electrical malfunction. This an additional awareness item with respect to the YC
         classifications isolated under items 2.1.2 and 2.4!40

         303.    Ford employees also discussed how to go about repairing vehicles with DPS6

  Transmission Defects using protocols that would not violate the TREAD Act. Thus, Ford

  demonstrated its knowledge that customer complaints and warranty claims are reportable events.


  39
     VGS5-00021665; RE: MAM - Interface FMEA Summary+ SEV Reduction Process (YC Reduction Process) -
  Reclassified for ‘Loss of Drive’; Johann Kirchhoffer; Ford Motor Company; January 21, 2009.
  40
     VGS5-00021665; RE: MAM - Interface FMEA Summary+ SEV Reduction Process (YC Reduction Process) -
  Reclassified for ‘Loss of Drive’; Johann Kirchhoffer; Ford Motor Company; January 21, 2009.

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          304.    In an internal September 6, 2016 email string, Craig Renneker, the Ford Chief

  Engineer for Front-wheel-drive A/T & D/l Systems Transmission & Driveline Engineering,

  discussed fixing the clutch in a DPS6 transmission of a Detroit school teacher who had complained

  about the problems with his new Focus to a former Ford employee, now a reporter with Crain

  Communications. Renneker warned that the company protocol must be followed to avoid a

  TREAD Act violation: “Yes - this is a concern (TREAD Act), which is why we need to follow the

  FCSD “VIP Ticket” process. Please call Paul S. directly to coordinate.41

          305.    In another Ford internal email string dated May 24, 2017, Mr. Renneker discussed

  fixing a DPS6 clutch for a customer out of warranty:42

          Mike;

          She has an 8080 clutch installed at 80k miles. Replacing hers with an 8040 will
          give us a “picky customer” data point to check the efficacy of the new material. Are
          you saying that the 8080 clutch replaced under the FSA itself has a 2 year/24 month
          warranty that would cover the full cost (parts and labor) to give her a new 8040?
          She is specifically complaining about the judder, but believes that there is nothing
          else the dealer can do. If the warranty does NOT cover her, do we have an approved
          procedure for an engineering investigation to replace her clutch/trans with
          engineering$? I’m mindful of TREAD act.

          Guys;

          Thanks. Please don’t pull the trigger on this yet. I’ve had 5 notes back/forth between
          me and the FCSD Director. I want to take care of this, but need to do it EXACTLY
          the right way. I hope to be able to give clear direction yet today. They have another
          funding mechanism that may be a better path as this has senior executive attention.

          306.    In at least one instance, Ford engineers actively discussed how to avoid triggering

  government attention that might lead to a recall. In a Ford internal email string dated March 4,




  41
     Ford DPS6-SAC 00038320; RE: Hey, Bob ... (Rich Truett email on 2015 DPS6 Focus); Craig Renneker; Ford
  Motor Company; September 6, 2016.
  42
     Ford-DPS6-SAC 00054061; Subject: RE: Replacing transmission on out-of-warranty vehicle for engineering
  feedback; Craig Renneker; Ford Motor Company; May 24, 2017.

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  2013, Ford engineers discussed yet another emerging defect issue involving the DPS6’s

  transmission in which the shift drums failed to achieve proper referencing:

          On every start-up the shift drums will move to the end stop and confirm position.
          This is done for safety reasons as the control system needs to know the exact
          position of the synchros to prevent an unintended movement. The failure to achieve
          proper reference is usually caused by low system voltage during crank (low voltage
          can either inhibit the driving force of the shift drum), it could also indicate a motor
          problem or a mechanical blockage…As a result of the continuous learnings, there
          have been multiple changes to fine tune the referencing sequence to stagger the
          shift drum movement so that the system voltage has recovered from the engine start.
          Whenever the transmission fails to achieve the reference position it sets an internal
          code (P2832 or P2837) and temporarily disables the gears which did not reference
          correctly.43

          307.    In response, Ford DPS6 Transmission Manager, Christopher Kwasniewicz, noted

  that Ford was about to release a TSB for transmission shudder, which would require a software re-

  flash the calibration, even though it might set error codes that would send the customer back to the

  dealer. This situation was preferable to dealership techs replacing clutches, which was costing Ford

  $3 million a month in warranty costs.44

          308.    Indeed, Ford had cast the DPS6 transmission’s myriad of failures as a design

  problem, owned by Getrag.45 And trying to fix the problems had been enormously expensive for

  Ford.

          309.    In a March 10, 2014 letter to Getrag, Ford’s Global Director, Powertrain Installation

  Purchasing, Alan Draper, noted that fixing the leaking input shaft seals alone would cost Ford

  hundreds of millions of dollars:

          After considerable technical analysis into the DPS6 seal leak concerns, Ford has
          determined that the appropriate remedy for affected vehicles is to initiate two
          separate customer satisfaction actions aimed at maintaining confidence in vehicles

  43
     VGS20020225; RE: P2832 & P2837 Background Info On Shift Drum Reference; Piero Aversa; Ford Motor
  Company; March 2, 2013.
  44
     VGS20020225; RE: P2832 & P2837 Background Info On Shift Drum Reference; Chris Kwasniewicz; Ford Motor
  Company; March 2, 2013.
  45
     VGS21355122; FW: DPS6 Getrag Status Update; Allyson Waldman; Ford Motor Company; March 24, 2014.

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          equipped with DPS6 transmissions built prior to the incorporation of the shaft seal
          material change in 2013.

                   1.       Proactive seal repair of 856K DPS6 equipped vehicles
                   2.       Extended warranty for 1.4M DPS6 equipped vehicles (including
                            vehicles campaigned for the proactive seal repair)

          The initiation of these actions along with the corresponding customer notification
          is pending completion of a robust service part supply plan. Getrag’s support of this
          plan is recognized, and I ask for your team’s continued help as we work to finalize
          the details. At this time, we are forecasting that these actions alone will cost us over
          $650M through the 2019 calendar year in addition to our normal warranty
          coverage.46

          310.     Ford knew from years of experience of working with the NHTSA that the agency

  tended to evaluate the recall potential for a defect that caused an engine stall or a loss of motive

  power, based on whether the particular condition gave the driver any warning of the impending

  stall and whether the driver could quickly recover motive power.

          311.     The NHTSA’s position has its roots in a 1986 study commissioned by the U.S.

  Department of Transportation Research and Special Programs Administration. The Transportation

  Systems Center issued a report which attempted to identify “patterns which could yield insight

  concerning the safety implications of stalling,” “high-risk stalling situations;” and “high-risk

  vehicles/components.”47 The researchers looked at complaints, calculated crash rates and

  compared these data to a sample of investigations which resulted in recalls or were closed with no

  findings. The researchers also analyzed a sample of the crash reports “to determine which vehicle

  characteristics and stalling circumstances were related to serious safety problems.”48




  46
     VGS20415045; Alan Draper Letter; Ford Motor Company; March 10, 2014.
  47
     Analysis of Stalling Problems; Simon Prensky; Pg. ii; U.S. Department of Transportation Research and Special
  Programs Administration Transportation Systems Center; November 1986.
  48
     Analysis of Stalling Problems; Simon Prensky; Pg. ii; U.S. Department of Transportation Research and Special
  Programs Administration Transportation Systems Center; November 1986.

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          312.     The researchers concluded that stalling incidents that occur without warning, at

  high speeds, or upon acceleration are associated with stalling-related accidents more frequently

  than other types of stalling problems. For example, loss of power steering or brakes due to stalling

  is cited as a common accident cause.49 In cases of a total loss of control, nearly half were involved

  in accidents. In addition, the 4.8 percent of drivers who had no warning of the stalling incident

  before it occurred were involved in accidents approximately 13 times more other than those who

  had some warning prior to their stalling incident.50

          313.     With that in mind, Ford worked assiduously to avoid fulfilling its recall

  responsibilities, by persuading NHTSA that drivers who experienced a loss of motive power due

  to the solder crack issue in the MAM could quickly recover.51 And, rather than recall and replace

  the defective clutches, or buy back the vehicles, Ford engineers proposed a $1.5 million project to

  “develop and test a software strategy that provides early warning to the customer (Overt Detection)

  prior to a MAM concern that may result in the loss of motive power.”52

          314.     Among the benefits outlined were a faster implementation of a software reflash of

  the MAM, avoiding customer dissatisfaction because drivers would have time to “schedule MAM

  replacement at the dealer, prior to MAM concern that has the potential to leave them stranded,”

  and reduce costs by spreading the demand for MAM replacements over time.53 Finally, the




  49
     Analysis of Stalling Problems; Simon Prensky; Pg. ii; U.S. Department of Transportation Research and Special
  Programs Administration Transportation Systems Center; November 1986.
  50
     Analysis of Stalling Problems; Simon Prensky; Pg. ii; U.S. Department of Transportation Research and Special
  Programs Administration Transportation Systems Center; November 1986.
  51
     VGS5-00365439; Re: Request for Confidential Treatment of Information Pertaining to a Recent WebEx
  Presentation, November 19, 2017.
  52
     VGS7-0059304 Overt Detection and Early Warning of DPS6 Mechatronic Actuation Module (MAM) Issue. Ford
  Motor Company; 2014.
  53
     VGS7-0059304 Overt Detection and Early Warning of DPS6 Mechatronic Actuation Module (MAM) Issue. Ford
  Motor Company; 2014.

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  proposal noted that an overt detection strategy would “satisfy NHTSA - Overt Detection is a pro-

  active action to protect our customers, which will more easily satisfy NHTSA’s requirements.”54

          315.    This latter idea was also expressed in Ford communications regarding its

  presentation to the Australian government probing the failures of the DPS6. On March 8, 2017,

  Mariusz Czubek, a specialist with the Ford AP Warranty Spend Reduction Group, contacted Ford

  Engineer Jonathan Graves of the DPS6 Transmission group for information to aid his analysis on

  the effectiveness of the new software re-flash under Customer Satisfaction Campaign 15B221

  which caused a warning light “to come up and hopefully prevent them ‘getting stuck.’”55 In reply,

  Mr. Graves noted: “15B22 was released to satisfy NHTSA recall requirements and updates each

  vehicle to Overt Software for early detection of solder cracks.”56

          316.    In its reply to the NHTSA’s information request, Ford was prepared to stake its

  position against a recall on the argument that other systems, such as noting that the brakes and

  airbags and steering still worked, that there was a warning to the driver, and that new software

  would make the driver aware of the need for service before the cracks grew large enough to cause

  serious problems. According to a draft response, Ford officials noted:

          Closing rationale -This should include:

          •       Because solder fatigue crack propagation is progressive in nature,
                  associated warnings and drivability symptoms are progressive in nature, as
                  well. Of customers that allege to have eventually lost mobility, the majority
                  said they were able to regain mobility either immediately or within minutes
                  by moving the shift lever or cycling the key.
          •       Other vehicle systems such as power steering, power brakes, restraint
                  systems, electrical functions, etc. are unaffected
          •       Ford’s extended warranty letter to customers highlights the vehicle
                  symptoms associated with this condition, and provides financial coverage
                  in order to encourage vehicle repair before the symptoms progress in nature.

  54
     VGS7-0059304 Overt Detection and Early Warning of DPS6 Mechatronic Actuation Module (MAM) Issue. Ford
  Motor Company; 2014.
  55
     DSP6-SAC 00050546; Subject: RE: MAM DTC fault code effect on customer; Mariusz Czubek March 10, 2017.
  56
     DSP6-SAC 00050546; Subject: RE: MAM DTC fault code effect on customer; Jonathan Graves; March 10, 2017.

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       FORD HAS CONDUCTED SAFETY RECALLS AS TO DEFECTS THAT CAUSED
       STALLS VIRTUALLY IDENTICAL TO THE UNINTENDED NEUTRAL EVENTS
                THAT MAKE THE DPS6-EQUIPPED VEHICLES UNSAFE

          317.     Ford is “on notice,” due to its history of selling defective vehicles and regulatory

  enforcement actions and court proceedings, that it is legally required to recall vehicles that suffer

  from unintended neutral/loss of motive power/stall condition events.

          318.      In the last 15 years, Ford has launched seven (7) such recalls – including four

  between 2012 and 2016, the same period in which Ford avoided recalls for unintended neutral/loss

  of motive power conditions caused by the DPS6 transmission.

          319.     In 2003, Ford became the only automaker to issue a judicially ordered recall for a

  stalling condition, after two decades of failed NHTSA investigations. From 1982 to 1997, the

  NHTSA investigated ignition module failures, but Ford misled the agency for years about the

  causes of stalling (affecting multiple models and model years) with no consequences to the

  company. In the absence of accurate information from Ford, NHTSA’s Office of Defect

  Investigations (“ODI”) was unable to identify the failure. Thus, the ignition defect bears the

  distinction of being the first court-ordered recall outside of the NHTSA.

          320.     The ignition module defect caused loss of power like that affecting the DPS6

  equipped vehicles. Ford’s ignition system57 was heat-sensitive, yet Ford placed it in the hottest

  location under the hood; at certain temperatures the module would cut out, causing the vehicle to

  stall at highway speeds.58 After four years, Ford’s warranty data showed that the return rate far

  exceeded projections, but many of the returned parts did not exhibit the failure mechanism because,



  57
     The ‘‘trouble not identified’’ phenomenon in automotive electronics; Dawn Thomas, et al; Microelectronics
  Reliability; January 23, 2002.
  58
     The ‘‘trouble not identified’’ phenomenon in automotive electronics; Dawn Thomas, et al; Microelectronics
  Reliability; January 23, 2002.

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  once cooled down, the component would resume working. Ford eventually identified the problem

  but failed to act on its knowledge.59

          321.     The NHTSA launched five investigations but could not definitively isolate a root

  cause of the stalling, in part because Ford withheld documents that would have shown the effect

  of thermal stress on the ignition modules resulted in stalling, instead of a range of drivability issues.

          322.     In 1987, the NHTSA examined the stalling issue in 2.6 million 1983 through 1986

  Escort, Tempo, Mustang, LTD, Thunderbird, EXP, Cougar, Topaz, Capri, Merkur, Lynx and

  Marquis vehicles equipped with 1.6 liter or 2.3-liter engines. The NHTSA’s Office of Defects

  Investigation investigated based on 33 stalling complaints; Ford located another 1,819 field reports

  and 649 complaints, but it combined different complaints into one pool of “failure to start the

  engine, poor engine performance and engine stalling.”60

          323.     Ford cast the DPS6 defect as a drivability issue: “As we have stated to the agency

  in the past, today’s engine and emission system controls have become very intricate and the

  diagnoses of drivability and/or stalling conditions have likewise become very difficult.”61

          324.     Both Ford and NHTSA conceded that the ignition module was to blame:

          Clearly evident is the fact that Ford experienced a massive engine controllability
          problem with the introduction of a new thick film ignition module (TFI) in the 1.6
          and 2.3 liter engines…Ultimately, Ford engineers identified the root cause of the
          problem to be thermal fatigue of the TFI ~ transistor assembly and integrated circuit
          failures which were aggravated by elevated engine compartment temperatures and
          by thermal cycling.62




  59
     The ‘‘trouble not identified’’ phenomenon in automotive electronics; Dawn Thomas, et al; Microelectronics
  Reliability; January 23, 2002.
  60
     PE87-028; Opening Letter; National Highway Traffic Safety Administration; May 12, 1987.
  61
     PE87-028; Closing Resume; National Highway Traffic Safety Administration; May 1, 1987; PDF pg. 11.
  62
     PE87-028; Closing Resume; National Highway Traffic Safety Administration; May 1, 1987; PDF pg. 11.

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          325.    But Ford misled the NHTSA about the scope of the problem and oversold its ability

  to resolve the issue.63

          326.    A class action lawsuit on behalf of Ford owners prompted the NHTSA to open a

  sixth investigation in 1997, which revealed that Ford had failed to produce documents to the

  agency. By then, the eight-year statute of limitations on recalls had passed, and the civil penalties

  the agency could have imposed were low.64 In 1999, the lawsuit ended in a hung jury, but resulted

  in a judicially ordered recall. Ford eventually settled the litigation in 2003 by doubling the

  component’s warranty.

          327.    Another recall also illustrates Ford’s refusals to accept responsibility for loss of

  power problems. In April 2004, a NHTSA probe forced Ford to recall 321,903 2001-2003 Escape

  vehicles for a condition in which a fuel-rich mixture could cause the vehicles to stall during

  decelerations at speeds below 40 mph.65 In its Part 573 Notice of Defect and Noncompliance, Ford

  argued that the vehicles were still controllable and re-started immediately:

          Ford’s investigation found that the vehicles remained controllable after such engine
          stalls and can readily be maneuvered off the roadway. Further, the vehicles
          typically restart immediately, and some owners reported starting their vehicle
          without coming to a stop coming to a stop. While it may be argued that stalling
          under certain conditions may increase the risk to safely, the stalling characteristics
          in this population of vehicles do not pose an unreasonable risk of accident or injury.
          The reports in this investigation clearly bear this out. Ford does not by taking this
          action, admit that a safety defect exists in these vehicles nor does Ford believe that
          engine stalling presents an unreasonable risk to motor vehicle safety. Ford Believes
          that the agency should update its earlier study of engine stalling as a sequel to the
          earlier “Analysis of Stalling Problems,” sponsored by The Transportation System
          Center.66




  63
     Howard v. Ford’ Plaintiff’s Opening Trial Brief; Phase Two; June 12, 2000.
  64
     Lawsuit Asserts Ford Knowingly Installed Defective Mechanism in Millions of Vehicles; Tim Golden; The New
  York Times; September 6, 1997.
  65
     Recall 04V165; Notice of Defect and Noncompliance; Ford Motor Company; April 5, 2004.
  66
     Recall 04V165; Notice of Defect and Noncompliance; Ford Motor Company; April 5, 2004.

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          328.    In June 2005, Ford recalled 180,104 Ford F-SuperDuty, Excursion, and E-Series

  vehicles from the 2004-2005 model years, equipped with 6.0l diesel engines, for reported engine

  stalling to address two wiring related conditions, specifically that the FICM wire harness chafing

  or improper ICP sensor connector crimps could cause the vehicle to stall without warning, with no

  re-start.67 Ford argued that the stalling hadn’t caused any injuries or crashes:

          Ford’s investigation has demonstrated that the reported stalling incidents in the
          affected vehicles do not present an unreasonable risk to safety. The vehicles remain
          controllable in the event of stalling. Real world performance, with virtually no
          accidents or injuries, supports our analysis. Nonetheless, to address customer
          satisfaction concerns and to avoid prolonged discussions with the agency, we are
          conducting this recall.68

          329.    In January 2012, the NHTSA compelled Ford to recall 205,896 2004 and 2005

  model year Ford Freestar and Mercury Monterey vehicles for problems that cause torque converter

  malfunctions and engine stalls. In its responses to an agency investigation, Ford laid out all of the

  same “controllability” arguments against a finding of a safety defect: According to Ford, the

  vehicle “remains readily controllable; the vehicle will coast during which it can be safely

  maneuvered and stopped because the engine continues to run. Because the engine continues to run,

  steering and braking are unaffected, and the vehicle’s electrical system and directional signals

  remain functional. Further, the transmission park system remains fully functional. At that time

  only one ambiguous, alleged minor accident involving a vehicle trailing behind the Freestar was

  identified with no alleged injuries.”69 Ford eventually launched a recall to “avoid a protracted

  dispute with the agency.”70




  67
     Recall 05V270; Notice of Defect and Noncompliance; Ford Motor Company; June 7, 2005.
  68
     Recall 05V270; Notice of Defect and Noncompliance; Ford Motor Company; June 7, 2005.
  69
     Recall 12V006; Defect and Noncompliance Notice; January 9, 2012.
  70
     Recall 12V006; Defect and Noncompliance Notice; January 9, 2012.

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          330.    In October 2013, Ford recalled 2,456 Focus Electric vehicles (model years 2012-

  2014) for a failure of the Power Control Module. The defect caused “a sudden loss of motive power

  while driving, increasing the risk of a crash.”71 Drivers received warning in the form of “a red

  triangle indicator and the message ‘Stop Safely Now’ in the instrument cluster.” Ford’s Part 573

  Recall Notice further stated that other safety-critical functions – “vehicle brake and steering

  systems will continue to operate normally and vehicle can often be restarted after going through a

  shutdown process.”72 According to the chronology Ford filed with its Part 573, Ford’s Critical

  Concern Review Group initially wanted to pass off the issue as a customer satisfaction matter –

  despite 16 reports of “Focus Electric vehicles experiencing loss of mobility accompanied by a

  “Stop Safely Now” message in the instrument cluster.” However, after the NHTSA opened a

  preliminary evaluation (PE13-031) into the issue as it affected 2012-2013 Focus Electric vehicles,

  the CCRG found additional reports and recommended a recall in October 2013.73

          331.     In 2016, Ford recalled 865 Focus Electric vehicles (2015-2016 model years)

  because increased friction and excessive wear of a certain gear shaft could result in overheating

  and eventual fracture of the shaft or pinion gears. This could lead to loss of motive power while

  driving and loss of the transmission park function without warning, increasing the risk of a crash.”

  Ford claimed it was not aware of any warranty reports, accidents or injuries related to the defect.74

          332.     In August 2016, Ford recalled 77,502 2013-2015 Ford Taurus and 2013-2015 Ford

  Taurus Police Interceptor, Lincoln MKS and MKT vehicles, due to the malfunction of a

  component within the fuel Pump Electric Module (PEM) caused by elevated temperatures within

  the module. “Malfunction of the fuel PEM may result in an open circuit causing a loss of electrical


  71
     Recall 13V523; Defect and Noncompliance Notice; October 21, 2013.
  72
     Recall 13V523; Defect and Noncompliance Notice; October 21, 2013.
  73
     Recall 13V523; Defect and Noncompliance Notice; October 21, 2013.
  74
     Recall 16V479; Defect and Noncompliance Notice; June 27, 2016.

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  power to the fuel pump. If this occurs, the customer may experience an engine no start or an engine

  stall. In some cases, the engine may stall without warning or the ability to restart.”75

             333.    In October 2018, Ford recalled more than 1.2 million 2012-2018 Ford Focus

  vehicles due to a malfunctioning Canister Purge Valve (CPV) that can stick open and a Powertrain

  Control Module (PCM) software that does not adequately detect a stuck-open CPV.76 In its Defect

  and Noncompliance notice, Ford noted that a stuck CPV “can cause excessive vacuum in the fuel

  vapor management system, potentially deforming the fuel tank. If this occurs, the customer may

  observe a Malfunction Indicator Light (MIL), inaccurate or erratic fuel gauge indication,

  drivability concerns or loss of motive power.”

             334.    In the case of the DPS6 Transmission, as in those prior cases, Ford actively

  concealed from the NHTSA its knowledge about the extent of the safety-related problems, and

  about the total number of crashes and injuries associated with the multiple DPS6 Transmission

  Defects. Ford took this course – not guided by engineering safety concerns – but out of political

  expediency with its supplier Getrag, and concerns about the enormous costs in delivering an

  effective repair or initiating a buyback program.

       FORD HAD EXCLUSIVE KNOWLEDGE OF THE TRANSMISSION DEFECTS AND
                 FRAUDULENTLY CONCEALED THIS INFORMATION

             335.    Ford had superior and exclusive knowledge of the Transmission Defects, and Ford

  knew or should have known that the Transmission Defects were not known or reasonably

  discoverable by consumers before purchase or lease of the affected Focus and Fiesta vehicles.

             336.    Since at least 2010, Ford has known about the Transmission Defects through

  sources not available to consumers, including through Ford’s pre-release testing data, early



  75
       Recall 16V621; Defect and Noncompliance Notice; August 22, 2016.
  76
       Recall 18V735; Defect and Noncompliance Notice; October 22, 2018.

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  consumer complaints to Ford and its dealers about the Transmission Defects, testing conducted by

  Ford in response to those complaints, Ford’s internal data showing high failure rates and

  replacement part sales, aggregate data from Ford dealers, and other Ford-proprietary sources of

  aggregate information about the problem including, but not limited to, similar defects in the

  substantially identical models sold overseas.

          337.    Ford knew about, and as a matter of business practice, failed to disclose and

  concealed, the Transmission Defects present in the DPS6-equipped Focus and Fiesta vehicles,

  along with the Transmission Defects’ dangerous safety and drivability problems, from consumers

  at the times of sale or lease, repair, and thereafter. In fact, instead of repairing defects in the DPS6,

  Ford frequently either refused to acknowledge the defects’ existence or performed superficial and

  ineffectual software upgrades that simply masked the symptoms of the Transmission Defects.

          338.    The existence of the Transmission Defects is a material fact that a reasonable

  consumer would consider when deciding whether to purchase or lease a vehicle equipped with a

  PowerShift Transmission.

          339.    Ordinary consumers reasonably expect that a vehicle’s transmission is safe, will

  function in a manner that will not pose a safety hazard, and is free from manufacturing defects.

  Ordinary consumers further reasonably expect that a car manufacturer will not sell or lease vehicles

  with known safety defects, such as the Transmission Defects, and will disclose any such defects

  to its consumers when it discovers them. They would not expect Ford to fail to disclose the

  Transmission Defects to them and to continually deny the defect.

                    FORD’S FAILURE TO DISCLOSE THE DPS6 DEFECTS

          340.    Ford has never disclosed the PowerShift Transmission Defects to consumers prior

  to their purchases or leases of affected vehicles, nor at any point during their ownership of such



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  vehicles. Similarly, Ford never instructed its dealerships to disclose the PowerShift Transmission

  Defects to potential purchasers or lessees of vehicles equipped with the DPS6.

         341.    The PowerShift Transmission defect was not known or reasonably discoverable by

  ordinary consumers before purchase or lease, or without experiencing the defect firsthand and

  exposing themselves to an unreasonable safety risk.

         342.    Ford has remained silent publicly even as it issued service bulletins, conducted

  internal investigations, and witnessed the increasing failures of the DPS6 Transmission in its

  vehicles domestically and abroad.

         343.    Ford’s refusal to publicly acknowledge the defect has created widespread

  confusion. Ford’s failure to notify consumers, dealerships, or auto-technicians prevents

  PowerShift Transmission problems from being efficiently diagnosed. Drivers are led to believe

  that the problems they are experiencing are actually “normal characteristics” of the PowerShift

  Transmission. Likewise, the lack of information makes it less likely that dealerships and auto-

  technicians will be able to diagnose and fix the PowerShift Transmission Defects or advise a

  consumer about the dangers of driving the affected vehicle.

         344.    As a result of Ford’s inaction and silence, consumers were entirely unaware that

  they had purchased, and were continuing to drive, an unsafe and unreliable vehicle. As Ford

  knows, a reasonable person would consider the PowerShift Transmission Defects important and

  would not purchase or lease a vehicle equipped with the PowerShift Transmission were its defects

  disclosed in advance or would pay substantially less for the vehicle.

             FORD ACTIVELY CONCEALED THE TRANSMISSION DEFECTS

         345.    As a result of the Transmission Defects, Ford was inundated with complaints

  regarding the PowerShift Transmission. In July 2011, Ford implemented a communications

  strategy intended to minimize certain behavior of the PowerShift Transmission in order to
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  “improve customer expectations.” In a memo with instructions sent to Ford dealers and service

  personnel, which Ford intended its dealers and service personnel to rely on in their

  communications to consumers, Ford noted that “PowerShift optimizes fuel efficiency with up to

  40MPG and driving dynamic ‘Fun to Drive’ performance.” It further noted, “The PowerShift is

  really like two 3-speed manual transmissions put together, with the freedom of operating a clutch

  as the components are controlled electronically. Since most of the components are derived from a

  manual transmission, the PowerShift transmission will drive, sound, or feel like a manual

  transmission only the driver does not have to shift gears.”

            346.    Some of the common and “normal characteristics” of the PowerShift Transmission

  were listed as “double clicking metal sounds … of gears shifting and synchronizers (similar to a

  manual transmission);” a “slight gear whine while slowing or coasting,” and “a reverse trailer

  hitching feel (or a slight bumping feel) … at about 2MPH.” Ford also advised its dealers about low

  speed grinding, reverse gear whine, and “Green Clutches” which can “lead to a rattle noise” and

  “a take-off shudder /launch judder (shaky vs. smooth).” According to Ford, the shudder would

  become “progressively better … as the clutch breaks-in.”77

            347.    However, despite Ford’s public insistence that these performance problems with

  the PowerShift Transmission were normal, in 2010 and 2011, Ford issued several TSBs to its

  dealers in the United States acknowledging defects in the PowerShift Transmission. Ford’s TSB

  from September 2010, covering the 2011 Ford Fiesta, informs dealers how to address and attempt

  to repair the PowerShift Transmission in response to “concerns such as no engagement or

  intermittent no engagement in Drive or Reverse when shifting from Park to Drive or Reverse,




  77
       VGS21630260, EFC000562DC, Ford Motor Company, July 25, 2011.

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  grinding noise during engagement, and/or a check engine light with transmission control module

  (TCM) diagnostic trouble code…”

           348.   Ford’s TSB released on January 1, 2011, covering the 2011 Fiesta with the

  PowerShift Transmission, informs dealers of problems with the PowerShift Transmission causing

  “a loss of power, hesitation, surge, or lack of throttle response while driving.”

           349.   Ford’s TSB from March 31, 2011, also covering the 2011 Ford Fiesta, informs

  dealers of problems where the PowerShift Transmission “exhibit[s] a rattle/grind noise in reverse

  only.”

           350.   Ford issued two separate TSBs in May 2011, both covering the Ford Fiesta. These

  TSBs addressed problems with the PowerShift Transmission including “concerns in Drive or

  Reverse when shifting from Park to Drive or reverse, no engagement, delayed engagement,

  intermittent engagement, noise during engagement…”

           351.   Plaintiffs are informed and believe, and on that basis allege, another Ford TSB

  released in September 2011 advised dealers to reprogram the transmission computer if 2011 Fiesta

  owners complained about “hesitation when accelerating from a low speed after coast down, harsh

  or late 1-2 upshift, harsh shifting during low-speed tip-in or tip-out maneuvers and/or engine r.p.m.

  flare when coasting to a stop.”

           352.   The 2012 Ford Focus was the subject of a Ford TSB in September 2011, which

  informed dealers of transmission problems including: “RPM flare on deceleration coming to a

  stop, rough idle on deceleration coming to a stop, intermittent engine idle fluctuations at a stop,

  intermittent vehicle speed control inoperative, intermittent harsh engagement/shift…”

           353.   In December of 2011, Motor Trend magazine called these efforts by Ford a “stealth

  upgrade” and noted that while “[t]here’s no official recall or service campaign… anybody who



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  complains or requests an upgrade at the dealership can have their powertrain control computer re-

  flashed.”

         354.    Plaintiffs are informed and believe, and on that basis allege, the software upgrades

  recommended and encouraged by the various TSBs issued by Ford were completely ineffective at

  addressing the Transmission Defects.

         355.    When consumers present vehicles equipped with the PowerShift Transmission to

  an authorized Ford dealer for repair to the transmission, rather than inform consumers of the

  Transmission Defects or conclusively repair the problem under warranty, Ford’s dealers and

  authorized repair facilities either inform consumers that their vehicles are functioning properly, or

  perform superficial and ineffectual software updates that delay or mask the manifestation of the

  Transmission Defects in an attempt to avoid more comprehensive and expensive repairs or

  replacements under the warranty.

         356.    To this day, Ford still has not publicly acknowledged that the Powershift

  Transmission suffers from a systemic defect or defects, that cause(s) the transmission to

  malfunction.

                                       CAUSES OF ACTION

                                              ARIZONA

                      FIRST CAUSE OF ACTION
    MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

         357.    The Arizona Plaintiffs incorporate by reference each of the preceding paragraphs

  as though fully set forth herein.

         358.    Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).
         359.    Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).




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         360.    The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

  they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

  primarily for personal use.

         361.    The Vehicles were sold with a “written warranty” and/or a “service contract” as

  those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

         362.    As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

  malfunction or non-conformity within a reasonable time, within a reasonable number of repair

  attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

         363.    Ford failed to adequately repair transmission defects, which occurred during the

  time and mileage parameters of Ford’s written express warranty (under both the original time and

  mileage limits of the transmission warranty and the extended time and mileage limits of the

  transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

  Such conduct constitutes a violation of the MMWA.

         364.    The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

  relief against Ford for any breach of express or implied warranty arising under state law, as well

  as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

         365.    Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

  judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

  based on actual time expended) determined by the court to have been reasonably incurred by

  Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

  §2310(d)(2).

         366.    Any purported disclaimer of implied warranties by Ford is prohibited by the

  MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).



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         367.    Even though Plaintiffs have complied with all conditions precedent, and have

  performed all things agreed to and required of them under the purchase agreement and warranty,

  except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

  refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

  without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

  this Complaint.

         368.    Ford is not entitled to another opportunity to cure the defects in the Vehicles.

  Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

  Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

  time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

  was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

  PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

  rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

  available under any available informal settlement procedure would be inadequate and any

  requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

  another opportunity to cure the defects has been waived by Ford or is otherwise excused and

  thereby deemed satisfied.

         369.    Further, for the passenger vehicles for model years 2011-2016, Ford’s express

  warranty booklet states that use of its informal settlement dispute procedure administered by the

  Better Business Bureau is optional, not mandatory:




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  See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

  Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

         370.    As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

  remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

  to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

  have suffered actual damages.

         371.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

  sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

  exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

  jurisdiction of this case and that the minimum amount in controversy has been met.

         372.    The Arizona Plaintiffs seek all damages permitted by law, including, without

  limitation, compensation for the monetary difference between the Fraudulent Vehicles as

  warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

  leasing, or renting replacement vehicles, along with all other incidental and consequential

  damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

  judgment interest and all other relief allowed by law.




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                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

         373.   The Arizona Plaintiffs incorporate by reference all facts and allegations set forth in

  this Complaint.

         374.   The Arizona Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

  Commercial Code (“UCC”), as adopted by Arizona at Ariz. Rev. Stat. § 47-2101 et. seq.

         375.   Ford’s advertisements and statements in written promotional and other materials

  contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

  risk of failure or latent defects that would plague the Vehicle. Each of the Arizona Plaintiff’s

  purchase or lease of a vehicle was also accompanied by an express written warranty provided by

  Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

  and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

  Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

  transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

  years/150,000-miles for the transmission control module. Defendant also expressly warranted that

  they would repair and/or replace defects in material and/or workmanship free of charge that

  occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

         376.   The Arizona Plaintiffs relied on Defendant’s express warranties when purchasing

  their Vehicles. Ford induced the Arizona Plaintiffs’ acceptance of the Vehicles by agreeing, by

  means of the express warranty, to remedy, within a reasonable time, those defects which had not

  been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

  disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

         377.   The Arizona Plaintiffs’ Vehicles were not as warranted and represented in that the

  Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

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  defects or conditions as reflected in the various repair orders, technical service bulletins, special

  service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

  continue to contain defects which substantially impair the use and value of the Vehicles to the

  Arizona Plaintiffs. These defects and non-conformities could not reasonably have been discovered

  by the Arizona Plaintiffs prior to their acceptance of the Vehicles.

         378.    As a result of the Transmission Defect in the Arizona Plaintiffs’ Vehicles, the

  Arizona Plaintiffs’ Vehicles cannot be reasonably relied on by the Arizona Plaintiffs for the

  ordinary purpose of providing safe, reliable, and efficient transportation.

         379.    Defendant breached this warranty by selling to the Arizona Plaintiffs the Vehicles

  with known Transmission Defects, which are not of high quality, and which are predisposed to fail

  prematurely and/or fail to function properly. Ford has also breached its express warranties by

  failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

  of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

  condition.

         380.    As a result of the Transmission Defect in the Arizona Plaintiffs’ Vehicles, the

  Arizona Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

  loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

  value of the vehicle on the date of sale, and other related damage. The Arizona Plaintiffs have

  provided Ford with sufficient opportunities to repair or replace their Vehicles.

         381.    As a result of the transmission defects, the Arizona Plaintiffs have lost faith and

  confidence in the Vehicles and the Arizona Plaintiffs cannot reasonably rely upon the Vehicles for

  the ordinary purpose of safe, reliable and efficient transportation.

         382.    The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty



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  failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

  because Ford did not correct the defects within a reasonable time or within a reasonable number

  of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

  consequential damages are recoverable.

         383.    Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

  or income that you lose, any inconvenience you might be caused, the loss of your transportation

  or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

  loss of personal or commercial property, the loss of revenue, or for any other incidental or

  consequential damages you may have. Any such purported exclusion of consequential and

  incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

  warranty limitation is unenforceable because they knowingly sold a defective product without

  informing consumers about the defect.

         384.    The Arizona Plaintiffs have reasonably met all obligations and pre-conditions as

  provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

  from performance of said obligations as a result of Defendant’s conduct described herein.

         385.    The Arizona Plaintiffs seek all damages permitted by law, including, without

  limitation, compensation for the monetary difference between the Fraudulent Vehicles as

  warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

  leasing, or renting replacement vehicles, along with all other incidental and consequential

  damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

  judgment interest and all other relief allowed by law.

                             THIRD CAUSE OF ACTION
                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

         386.    The Arizona Plaintiffs incorporate by reference all facts and allegations set forth in


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  this Complaint.

         387.    The Arizona Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

  Commercial Code (“UCC”), as adopted by Arizona at Ariz. Rev. Stat. § 47-2101 et. seq.

         388.    Defendant is a “merchant” with respect to motor vehicles under the Arizona statute.

         389.    Defendant impliedly warranted that the Vehicles, which Defendant designed,

  manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

  purposes, including providing reliable and safe transportation.

         390.    Unfortunately, the Vehicles were of substandard quality and contained numerous

  latent defects at the time of purchase, including but not limited to transmission defects such as

  shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

  lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

  to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

  their ordinary and intended purpose of providing reliable and safe transportation, and have caused

  economic loss to the Arizona Plaintiffs.

         391.    Defendant breached the implied warranty of merchantability, as the Vehicles were

  not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

  ordinary purpose for which such goods are used and/or the Vehicles would not pass without

  objection in the trade for the product description.

         392.    Ford failed to adequately remedy the transmission defects in the Vehicles within a

  reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

  filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

  failure to repair or replace the covered defective parts during the applicable warranty period in a

  manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing



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  reliable transportation and would not pass without objection in the auto trade due to the excessive

  defects.

         393.    As a result of Ford’s breaches of implied warranties, the Arizona Plaintiffs have

  suffered economic loss and damages. The damages the Arizona Plaintiffs have suffered are a direct

  and proximate result of Defendant’s actions.

         394.    The Arizona Plaintiffs have reasonably met all obligations and pre-conditions under

  the warranty, or otherwise have been excused from performance of said obligations as a result of

  Defendant’s conduct described herein.

         395.    The Arizona Plaintiffs seek all damages permitted by law, including, without

  limitation, compensation for the monetary difference between the Fraudulent Vehicles as

  warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

  leasing, or renting replacement vehicles, along with all other incidental and consequential

  damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

  judgment interest and all other relief allowed by law.

                               FOURTH CAUSE OF ACTION
                        VIOLATIONS OF THE CONSUMER FRAUD ACT
                              (Ariz. Rev. Stat. § 44-1521, et seq.)

         396.     The Arizona Plaintiffs incorporate by reference each preceding paragraph as

  though fully set forth herein.

         397.     The Arizona Plaintiffs have complied with all applicable pre-suit notice letter

  provisions, if any.

         398.     Defendant and the Arizona Plaintiffs are “persons” within the meaning of the

  Arizona Consumer Fraud Act (“Arizona CFA”), Ariz. Rev. Stat. § 44-1521(6).




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         399.     The Vehicles are “merchandise” within the meaning of Ariz. Rev. Stat. § 44-

  1521(5).

         400.     The Arizona CFA provides that “[t]he act, use or employment by any person of

  any deception, deceptive act or practice, fraud, … misrepresentation, or concealment, suppression

  or omission of any material fact with intent that others rely upon such concealment, suppression

  or omission, in connection with the sale … of any merchandise whether or not any person has in

  fact been misled, deceived or damaged thereby, is declared to be an unlawful practice.” Ariz. Rev.

  Stat. § 44-1522(A). Defendants intentionally violated the Arizona CFA.

         401.    Ford violated the Arizona CFA as a result of its manufacture and sale of vehicles

  with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

  its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

  had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

  Transmission Defects and the true defective nature of its PowerShift transmission system, by

  marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

  and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

  material facts and breached its legal duties.

         402.    Defendant’s unfair and deceptive acts or practices occurred repeatedly,

  systematically and continuously in Defendant’s business of manufacturing, distributing, and

  advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

  portion of the purchasing public, including the Arizona Plaintiffs, and imposed a serious safety

  risk on the public.

         403.    Defendant knew that the Vehicles and their transmissions suffered from an inherent

  defect, were defectively designed or manufactured, and were not suitable for their intended use of



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  providing reliable transportation. In the course of Defendant’s business of manufacturing,

  distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

  Transmission Defect in the Vehicles as described above.

         404.     Ford engaged in the following violative acts or practices in the conduct of trade or

  commerce:

         a. Representing through its advertising, warranties, and other express representations that

              the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

              characteristics that they did not actually have;

         b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

              of a particular standard or quality when they were not;

         c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

              not to sell them as advertised and, when so doing, concealing and suppressing facts

              material to the true characteristics, standards and qualities of the Vehicles and

              transmissions;

         d. At the time of the sales or leases to the Arizona Plaintiffs, Ford knew or had reason to

              know that the Vehicles had inherent and systemic Transmission Defects, as described

              in this Complaint, but Ford failed to disclose this material information to the Arizona

              Plaintiffs;

         e. Failing to reveal material facts which misled Plaintiffs and which facts could not

              reasonably have been known by the Arizona Plaintiffs;

         f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

              use without clearly and conspicuously disclosing same;

         g. Failing to provide promised benefits under the warranty, both expressly or implied by



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             operation of law;

         h. Entering into a consumer transaction in which the Arizona Plaintiffs purportedly

             waived a right, benefit, or immunity provided by law, without clearly stating the waiver

             and obtaining the Arizona Plaintiffs’ specific consent to the waiver.

         405.    Ford’s violative practices were specifically designed to induce, and did in fact

  induce, the Arizona Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

  PowerShift transmission.

         406.    The    Arizona     Plaintiffs   reasonably    relied   on    Defendant’s     material

  misrepresentations and omissions concerning the Vehicles, and their transmissions.

         407.    Upon information and belief, these violations were not due to a bona fide error, as

  Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

  same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

  vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

  with a DPS6 transmission in 2019.

         408.    As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

  the Arizona Plaintiffs have suffered and will continue to suffer actual damages, including

  economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

  Arizona Plaintiffs known that the Vehicles would be equipped with a characteristically defective

  transmission or exhibit the Transmission Defects, they would not have purchased or leased the

  Vehicles or would have paid substantially less to purchase or lease them.

         409.    As a result of the Transmission Defects, the Arizona Plaintiffs were harmed and

  suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

  before their expected useful life has passed. The Vehicles experienced and will continue to



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  experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

  premature internal wear, delayed acceleration, and, eventually, transmission failure. The Arizona

  Plaintiffs have also experienced and will continue experience repair costs as a result of the

  Transmission Defect.

          410.       Defendant had an ongoing duty to all customers to refrain from unfair and deceptive

  practices under the Arizona CFA in the course of their business.

          411.       Defendant’s violations present a continuing risk to the Arizona Plaintiffs as well as

  to the general public. Defendant’s unlawful acts and practices complained of herein affect the

  public interest.

          412.       The Arizona Plaintiffs hereby sue Defendants for actual damages, including

  economic and non-economic damages (including, without limitation, damages for embarrassment,

  humiliation, inconvenience, mental anguish and emotional distress) in an amount to be determined

  at trial. The Arizona Plaintiffs also sue Defendants for punitive damages because Defendants

  engaged in aggravated and outrageous conduct with an evil mind. The Arizona Plaintiffs also sue

  Defendants for attorneys’ fees and costs and any other just and proper relief available under the

  Arizona CFA.

                                                  OREGON

                      FIRST CAUSE OF ACTION
    MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

          413.       The Oregon Plaintiffs incorporate by reference each of the preceding paragraphs as

  though fully set forth herein.

          414.       Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

          415.       Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).




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         416.    The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

  they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

  primarily for personal use.

         417.    The Vehicles were sold with a “written warranty” and/or a “service contract” as

  those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

         418.    As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

  malfunction or non-conformity within a reasonable time, within a reasonable number of repair

  attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

         419.    Ford failed to adequately repair transmission defects, which occurred during the

  time and mileage parameters of Ford’s written express warranty (under both the original time and

  mileage limits of the transmission warranty and the extended time and mileage limits of the

  transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

  Such conduct constitutes a violation of the MMWA.

         420.    The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

  relief against Ford for any breach of express or implied warranty arising under state law, as well

  as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

         421.    Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

  judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

  based on actual time expended) determined by the court to have been reasonably incurred by

  Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

  §2310(d)(2).

         422.    Any purported disclaimer of implied warranties by Ford is prohibited by the

  MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).



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         423.    Even though Plaintiffs have complied with all conditions precedent, and have

  performed all things agreed to and required of them under the purchase agreement and warranty,

  except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

  refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

  without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

  this Complaint.

         424.    Ford is not entitled to another opportunity to cure the defects in the Vehicles.

  Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

  Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

  time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

  was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

  PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

  rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

  available under any available informal settlement procedure would be inadequate and any

  requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

  another opportunity to cure the defects has been waived by Ford or is otherwise excused and

  thereby deemed satisfied.

         425.    Further, for the passenger vehicles for model years 2011-2016, Ford’s express

  warranty booklet states that use of its informal settlement dispute procedure administered by the

  Better Business Bureau is optional, not mandatory:




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  See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

  Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

         426.    As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

  remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

  to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

  have suffered actual damages.

         427.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

  sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

  exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

  jurisdiction of this case and that the minimum amount in controversy has been met.

         428.    The Oregon Plaintiffs seek all damages permitted by law, including, without

  limitation, compensation for the monetary difference between the Fraudulent Vehicles as

  warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

  leasing, or renting replacement vehicles, along with all other incidental and consequential

  damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

  judgment interest and all other relief allowed by law.




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                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

         429.   The Oregon Plaintiffs incorporate by reference all facts and allegations set forth in

  this Complaint.

         430.   The Oregon Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

  Commercial Code (“UCC”), as adopted by Oregon at Or. Rev. Stat. § 72.1010 et. seq.

         431.   Ford’s advertisements and statements in written promotional and other materials

  contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

  risk of failure or latent defects that would plague the Vehicle. Each of the Oregon Plaintiff’s

  purchase or lease of a vehicle was also accompanied by an express written warranty provided by

  Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

  and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

  Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

  transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

  years/150,000-miles for the transmission control module. Defendant also expressly warranted that

  they would repair and/or replace defects in material and/or workmanship free of charge that

  occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

         432.   The Oregon Plaintiffs relied on Defendant’s express warranties when purchasing

  their Vehicles. Ford induced the Oregon Plaintiffs’ acceptance of the Vehicles by agreeing, by

  means of the express warranty, to remedy, within a reasonable time, those defects which had not

  been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

  disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

         433.   The Oregon Plaintiffs’ Vehicles were not as warranted and represented in that the

  Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

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  defects or conditions as reflected in the various repair orders, technical service bulletins, special

  service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

  continue to contain defects which substantially impair the use and value of the Vehicles to the

  Oregon Plaintiffs. These defects and non-conformities could not reasonably have been discovered

  by the Oregon Plaintiffs prior to their acceptance of the Vehicles.

         434.    As a result of the Transmission Defect in the Oregon Plaintiffs’ Vehicles, the

  Oregon Plaintiffs’ Vehicles cannot be reasonably relied on by the Oregon Plaintiffs for the

  ordinary purpose of providing safe, reliable, and efficient transportation.

         435.    Defendant breached this warranty by selling to the Oregon Plaintiffs the Vehicles

  with known Transmission Defects, which are not of high quality, and which are predisposed to fail

  prematurely and/or fail to function properly. Ford has also breached its express warranties by

  failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

  of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

  condition.

         436.    As a result of the Transmission Defect in the Oregon Plaintiffs’ Vehicles, the

  Oregon Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

  loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

  value of the vehicle on the date of sale, and other related damage. The Oregon Plaintiffs have

  provided Ford with sufficient opportunities to repair or replace their Vehicles.

         437.    As a result of the transmission defects, the Oregon Plaintiffs have lost faith and

  confidence in the Vehicles and the Oregon Plaintiffs cannot reasonably rely upon the Vehicles for

  the ordinary purpose of safe, reliable and efficient transportation.

         438.    The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty



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  failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

  because Ford did not correct the defects within a reasonable time or within a reasonable number

  of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

  consequential damages are recoverable.

         439.    Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

  or income that you lose, any inconvenience you might be caused, the loss of your transportation

  or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

  loss of personal or commercial property, the loss of revenue, or for any other incidental or

  consequential damages you may have. Any such purported exclusion of consequential and

  incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

  warranty limitation is unenforceable because they knowingly sold a defective product without

  informing consumers about the defect.

         440.    The Oregon Plaintiffs have reasonably met all obligations and pre-conditions as

  provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

  from performance of said obligations as a result of Defendant’s conduct described herein.

         441.    The Oregon Plaintiffs seek all damages permitted by law, including, without

  limitation, compensation for the monetary difference between the Fraudulent Vehicles as

  warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

  leasing, or renting replacement vehicles, along with all other incidental and consequential

  damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

  judgment interest and all other relief allowed by law.

                             THIRD CAUSE OF ACTION
                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

         442.    The Oregon Plaintiffs incorporate by reference all facts and allegations set forth in


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  this Complaint.

         443.    The Oregon Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

  Commercial Code (“UCC”), as adopted by Oregon at Or. Rev. Stat. § 72.1010 et. seq.

         444.    Defendant is a “merchant” with respect to motor vehicles under the Oregon statute.

         445.    Defendant impliedly warranted that the Vehicles, which Defendant designed,

  manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

  purposes, including providing reliable and safe transportation.

         446.    Unfortunately, the Vehicles were of substandard quality and contained numerous

  latent defects at the time of purchase, including but not limited to transmission defects such as

  shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

  lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

  to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

  their ordinary and intended purpose of providing reliable and safe transportation, and have caused

  economic loss to the Oregon Plaintiffs.

         447.    Defendant breached the implied warranty of merchantability, as the Vehicles were

  not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

  ordinary purpose for which such goods are used and/or the Vehicles would not pass without

  objection in the trade for the product description.

         448.    Ford failed to adequately remedy the transmission defects in the Vehicles within a

  reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

  filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

  failure to repair or replace the covered defective parts during the applicable warranty period in a

  manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing



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  reliable transportation and would not pass without objection in the auto trade due to the excessive

  defects.

          449.    As a result of Ford’s breaches of implied warranties, the Oregon Plaintiffs have

  suffered economic loss and damages. The damages the Oregon Plaintiffs have suffered are a direct

  and proximate result of Defendant’s actions.

          450.    The Oregon Plaintiffs have reasonably met all obligations and pre-conditions under

  the warranty, or otherwise have been excused from performance of said obligations as a result of

  Defendant’s conduct described herein.

          451.    The Oregon Plaintiffs seek all damages permitted by law, including, without

  limitation, compensation for the monetary difference between the Fraudulent Vehicles as

  warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

  leasing, or renting replacement vehicles, along with all other incidental and consequential

  damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

  judgment interest and all other relief allowed by law.

                          FOURTH CAUSE OF ACTION
         VIOLATIONS OF THE OREGON UNLAWFUL TRADE PRACTICES ACT
                         (Or. Rev. Stat. §§ 646.605, et seq.)

          452.    The Oregon Plaintiffs incorporate by reference each preceding paragraph as though

  fully set forth herein.

          453.    The Oregon Plaintiffs have complied with all applicable, pre-suit notice letter

  provisions, if any.

          454.    Defendant and the Oregon Plaintiffs are “persons” within the meaning of Or. Rev.

  Stat. § 646.605(4).




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              455.   Defendant is engaged in “trade” or “commerce” within the meaning of Or. Rev.

  Stat. § 646.605(8).

              456.   The Oregon Unfair Trade Practices Act (“Oregon UTPA”) prohibits “unfair or

  deceptive acts conduct in trade or commerce ….” Or. Rev. Stat. § 646.608(1). Defendant violated

  the Oregon UTPA because, among other reasons, they (1) “[r]epresented that . . . goods . . . have

  sponsorship, approval, characteristics, ingredients, uses, benefits, quantities or qualities that the . .

  . goods or . . . do not have;” (2) “[r]epresented that … goods … are of a particular standard,

  quality, or grade, [when] the …. goods … were of another;” (3) “advertise[d] …. goods …. with

  intent not to provide … goods …. as advertised;” (4) “[c]oncurrent with tender or delivery of. .. .,

  goods . . . fail[ed] to disclose any known material defect or material nonconformity;” (5) [e]ngaged

  in . . . unfair or deceptive conduct in trade or commerce. Or. Rev. Stat. § 646.608(1)(e), (g), (i),

  (t), (u).

              457.   Ford violated the Oregon UTPA as a result of its manufacture and sale of vehicles

  with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

  its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

  had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

  Transmission Defects and the true defective nature of its PowerShift transmission system, by

  marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

  and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

  material facts and breached its legal duties.

              458.   Defendant’s unfair and deceptive acts or practices occurred repeatedly,

  systematically and continuously in Defendant’s business of manufacturing, distributing, and

  advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial



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  portion of the purchasing public, including the Oregon Plaintiffs, and imposed a serious safety risk

  on the public.

         459.      Defendant knew that the Vehicles and their transmissions suffered from an inherent

  defect, were defectively designed or manufactured, and were not suitable for their intended use of

  providing reliable transportation. In the course of Defendant’s business of manufacturing,

  distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

  Transmission Defect in the Vehicles as described above.

         460.      Ford engaged in the following violative acts or practices in the conduct of trade or

  commerce:

         a. Representing through its advertising, warranties, and other express representations that

              the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

              characteristics that they did not actually have;

         b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

              of a particular standard or quality when they were not;

         c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

              not to sell them as advertised and, when so doing, concealing and suppressing facts

              material to the true characteristics, standards and qualities of the Vehicles and

              transmissions;

         d. At the time of the sales or leases to the Oregon Plaintiffs, Ford knew or had reason to

              know that the Vehicles had inherent and systemic Transmission Defects, as described

              in this Complaint, but Ford failed to disclose this material information to the Oregon

              Plaintiffs;

         e. Failing to reveal material facts which misled Plaintiffs and which facts could not



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             reasonably have been known by the Oregon Plaintiffs;

         f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

             use without clearly and conspicuously disclosing same;

         g. Failing to provide promised benefits under the warranty, both expressly or implied by

             operation of law;

         h. Entering into a consumer transaction in which the Oregon Plaintiffs purportedly waived

             a right, benefit, or immunity provided by law, without clearly stating the waiver and

             obtaining the Oregon Plaintiffs’ specific consent to the waiver.

         461.    Ford’s violative practices were specifically designed to induce, and did in fact

  induce, the Oregon Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

  PowerShift transmission.

         462.    The Oregon Plaintiffs reasonably relied on Defendant’s material misrepresentations

  and omissions concerning the Vehicles, and their transmissions.

         463.    Upon information and belief, these violations were not due to a bona fide error, as

  Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

  same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

  vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

  with a DPS6 transmission in 2019.

         464.    As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

  the Oregon Plaintiffs have suffered and will continue to suffer actual damages, including economic

  damages at the point of sale or lease and/or diminished value of their Vehicles. Had the Oregon

  Plaintiffs known that the Vehicles would be equipped with a characteristically defective

  transmission or exhibit the Transmission Defects, they would not have purchased or leased the



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  Vehicles or would have paid substantially less to purchase or lease them.

          465.       As a result of the Transmission Defects, the Oregon Plaintiffs were harmed and

  suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

  before their expected useful life has passed. The Vehicles experienced and will continue to

  experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

  premature internal wear, delayed acceleration, and, eventually, transmission failure. The Oregon

  Plaintiffs have also experienced and will continue experience repair costs as a result of the

  Transmission Defect.

          466.       Defendant had an ongoing duty to all customers to refrain from unfair and deceptive

  practices under the Oregon UTPA in the course of their business.

          467.       Defendant’s violations present a continuing risk to the Oregon Plaintiffs as well as

  to the general public. Defendant’s unlawful acts and practices complained of herein affect the

  public interest.

          468.       Pursuant to Or. Rev. Stat. § 646.638, the Oregon Plaintiffs hereby sue Defendant

  for actual damages, including economic and non-economic damages (including, without

  limitation, damages for embarrassment, humiliation, inconvenience, mental anguish and emotional

  distress) plus punitive damages plus attorneys’ fees and costs per Or. Rev. Stat. § 646.638(3) plus

  any other just and proper relief available under the Oregon UTPA.

                                              LIMITATIONS

              PLAINTIFFS’ CLAIMS ARE TIMELY UNDER LAW OR EQUITY

    ALL STATUTES OF LIMITATIONS ARE TOLLED BY THE TOLLING DOCTRINE
    ESTABLISHED IN AMERICAN PIPE & CONSTRUCTION CO. V. UTAH, 414 U.S. 538
   (1974) AS A RESULT OF THE CLASS ACTION VARGAS V. FORD MOTOR COMPANY

          469.       Plaintiffs gave timely notice of their claims against Ford in the present action as

  putative class members in a class action, Vargas v. Ford Motor Company, United States District
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  Court, Central District of California, Case No. 2:12-cv-08388 ABC (FFMx), which was filed on

  September 28, 2012. That action was filed within three years of the date of purchase or lease for

  all Plaintiffs.

          470.      There is no prejudice to Ford in gathering evidence to defend against Plaintiffs’

  individual claims because the class definition in the class action complaint within which Plaintiffs

  were each putative class members and the allegations in the class action lawsuit, Vargas v. Ford

  Motor Company, United States District Court, Central District of California, Case No. 2:12-cv-

  08388 ABC (FFMx) (“Vargus”), put Ford on notice of the facts that give rise to each Plaintiff’s

  individual action, the witnesses necessary for Ford to defend Plaintiffs’ individual actions, and the

  causes of action against Ford asserted in each Plaintiff’s individual action.

          471.      The Vargas Class Plaintiffs alleged the material facts on behalf of Plaintiffs as

  putative class members as are being alleged by Plaintiffs in the present individual action.

          472.      The facts alleged in Vargas are substantially similar, if not identical to the facts

  alleged herein.

          473.      The allegations in Vargas are based on the same subject matter and similar evidence

  as the instant complaint. Those allegations concern the same evidence, memories, and witnesses

  as the subject matter in the instant complaint.

          474.      The Vargas class action certainly protected the efficiency and economy of

  litigation because that class action is protecting the rights of thousands of consumers nationwide

  through a single action. Consumer class actions regarding defective vehicles brought against

  manufacturers are regularly certified, making a class action lawsuit an efficient means of pursuing

  such claims.




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          475.    The tolling of Plaintiffs’ individual statute of limitations encourages the protection

  of efficiency and economy in litigation as promoted by the class action device, so that putative

  class members would not find it necessary to seek to intervene or to join individually because of

  fear the class might never be certified or putative class members may subsequently seek to request

  exclusion.

          476.    The running of all statute of limitations on each Plaintiff’s claims asserted against

  Ford in the present action were therefore tolled by American-Pipe tolling during the entire

  pendency of Vargas.

  PLAINTIFFS’ CLAIMS WERE TOLLED DURING THE PENDENCY OF CYR V. FORD
     MOTOR COMPANY, CASE NO. 2017-006058-NZ (CIR. CT WAYNE COUNTY,
                             MICHIGAN)

          477.    Plaintiffs previously timely filed their claims on April 20, 2017, in the case of Cyr

  v. Ford Motor Co., Case No. 2017-006058-NZ (Cir. Ct Wayne County, Michigan) (hereinafter,

  “the Cyr Action”). On April 26, 2022, the Cyr Action was dismissed on the basis of forums non

  conveniens, which has at its core, the requirement that an alternate forum exists for Plaintiffs to

  pursue their claims. The statute of limitations was tolled during the pendency of the Cyr Action.

  Plaintiffs also invoke the Delaware savings statute and any other applicable savings statutes in re-

  filing their claims in the instant action.

                                      DEMAND FOR JURY TRIAL

          478.    Pursuant to Rule 28(b) of the Federal Rules of Civil Procedure, Plaintiff demands

  a trial by jury of all issues so triable.

                                          PRAYER FOR RELIEF

  WHEREFORE, Plaintiffs pray that the Court award relief as follows:




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         A.     Damages for the monetary difference between the Vehicles as warranted and as

                sold; compensation for the reduction in resale value; the cost of purchasing, leasing,

                or renting replacement vehicles, along with all other incidental and consequential

                damages;

         B.     Statutory damages;

         C.     Treble damages;

         D.     Punitive or exemplary damages;

         E.     Out of pocket damages;

         F.     Costs of suit;

         G.     Attorney’s fees incurred in pursuit of Plaintiffs’ claims against Ford, including trial

                and appeals;

         H.     Pre-judgment and post-judgment interest; and

         I.     All other relief to which they may be justly entitled.

  Dated: June 21, 2022
                                               Respectfully submitted,

                                               /s/ Antranig Garibian
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                                 DEMAND FOR JURY TRIAL

        Plaintiffs hereby demand a trial by jury.

                                              /s/Eric D. Pearson
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